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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  MOHAMMAD HILMI NASSIF &
  PARTNERS

            Plaintiff,
                                                                 Civil Action No.
      v.                                                    1:17-cv-02193 (KBJ/GMH)

  REPUBLIC OF IRAQ, et al.

            Defendants.


                                MAGISTRATE JUDGE’S
                            REPORT AND RECOMMENDATION

       The Complaint in this matter alleges that, in 1995, Defendant Republic of Iraq (“Iraq”)

owed Plaintiff Mohammad Hilmi Nassif & Partners, a Jordanian entity, money for an outstanding

debt. To satisfy this debt, Iraq and co-Defendant Ministry of Industry and Minerals of the Republic

of Iraq (“Ministry”) agreed to ship 450,000 tons of sulfur and 100,000 tons of urea (“the product”)

to Plaintiff. Plaintiff’s plan was to then sell the product to a U.S. buyer and retain the proceeds

from the sale to satisfy Iraq’s debt. Defendants, however, failed to ship the product, and the sale

to Plaintiff’s U.S. buyer fell through. For that alleged breach of their agreement, Plaintiff won a

judgment in Jordanian court against the Defendants in the amount of $53 million. Plaintiff now

seeks recognition of that judgment in the United States under the District of Columbia’s Uniform

Foreign-Country Money Judgments Recognition Act of 2011 (“D.C. Recognition Act”), D.C.

Code § 15-361 et seq.

       After Plaintiff filed the Complaint, Defendants defaulted and remained unresponsive for

over eleven months. Faced with the threat of default judgment, Defendants appeared and filed a

motion to set aside the Clerk’s entry of default pursuant to Rule 55(c) of the Federal Rules of Civil
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Procedure and a motion to dismiss the Complaint pursuant to Rules 12(b)(1), 12(b)(5), and

12(b)(6). Then-District Judge Ketanji Brown Jackson referred this case to the undersigned for full

case management. On January 15, 2020, the undersigned issued a Report and Recommendation

recommending that the Court find that Plaintiff failed to properly serve Defendants because the

envelope Plaintiff mailed to Defendants containing copies of the summons and Complaint failed

to identify the head of the Ministry of Foreign Affairs by name or title, as required by the Foreign

Sovereign Immunities Act (“FSIA”) for proper service under 28 U.S.C. § 1608(a)(3). ECF No.

40 at 25–26. The undersigned further recommended that Plaintiff be permitted to reattempt proper

service, that Defendants’ motion to set aside entry of default be granted, that Plaintiff’s amended

motion for default judgment be denied as moot, and that, should the Court reach the merits of

Defendants’ motion to dismiss under 12(b)(1) and 12(b)(6), the motion be denied. Id. at 35. Judge

Jackson adopted the Report and Recommendation in part, finding that Plaintiff had failed to

properly serve Defendants pursuant to section 1608(a)(3) and allowing them to reattempt proper

service. See Mohammad Hilmi Nassif & Partners v. Republic of Iraq, No. 17-cv-1444918, at *2–

3 (D.D.C. Mar. 25, 2020) [hereinafter, Nassif]. Judge Jackson also granted Defendants’ motion to

set aside entry of default, denied Plaintiff’s amended motion for default judgment as moot, and

denied without prejudice Defendants’ motion to dismiss. Id. at *4. Because service was ineffec-

tive, Judge Jackson “set the [Report and Recommendation’s] conclusions [as to Defendants’ mo-

tion to dismiss] aside—to be consulted, if necessary, once the complaint is properly served and

Defendants refile their motion to dismiss.” Id. at *3.

       Plaintiff served Defendant Republic of Iraq on August 26, 2020 and Defendant Ministry of

Industry and Minerals on September 15, 2020. See ECF No. 57. Defendants then filed a renewed

motion to dismiss the Complaint pursuant to Rule 12(b)(1), Rule 12(b)(6), and on forum non



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conveniens grounds. Defendants’ renewed motion raises many of the same arguments included in

their first motion to dismiss but provides some new evidence and arguments, as well. ECF No.

60-1. The motion is now ripe for adjudication. After reviewing the parties’ briefs and attachments

thereto, the undersigned recommends denying Defendants’ renewed motion to dismiss.1

                                          I.       BACKGROUND

        The undersigned’s prior Report and Recommendation (ECF No. 40) and Judge Jackson’s

opinion adopting it in part, see Nassif, 2020 WL 1444918, at *1, set out the relevant factual back-

ground of this case. Only a brief review is necessary here. In November 1995, Defendants alleg-

edly agreed to ship 450,000 tons of sulfur and 100,000 tons of urea to Plaintiff to settle an out-

standing debt that Iraq owed to Plaintiff. 2 ECF No. 1, ¶¶ 2, 10–11. After receiving the product,

Plaintiff would sell it to a U.S. buyer and retain the proceeds from the sale, thus settling the debt.

Id., ¶ 12. The only written memorialization of the contract’s terms is a letter (“Export Commitment

Letter,” or “Letter”) dated November 22, 1995, signed by Yakoub Yousef Shonia, the then–Direc-

tor General of the Ministry’s Economic Department, and addressed to Plaintiff’s tradename, “Trust

Worldwide Trading Corporation.” ECF No. 66 at 15; ECF No. 1, ¶ 1. The Letter states in relevant

part, “[W]e have no objection to settle the entitlements by supplying you with 450000 (four hun-

dred fifty thousand tons) of sulfur and 100000 (one hundred thousand tons) of urea as a repayment

of the debt. The said materials are to be exported via the Iraq-Jordan borders.” ECF No. 66 at 15.

According to Plaintiff, Defendants knew at the time of contracting that Plaintiff would ship the


1
  The most relevant docket entries considered by the undersigned with respect to the motion to dismiss are (1) the
Complaint (ECF No. 1) and its attachments, (2) Defendants’ motion to dismiss (ECF No. 60) and its attachments,
(3) Plaintiff’s opposition to the motion to dismiss (ECF No. 66) and its attachments, and (4) Defendants’ reply in
support of their motion to dismiss (ECF No. 67) and its attachments. The page numbers cited herein are those assigned
by the Court’s CM/ECF system.
2
 The facts presented are based on Plaintiff’s allegations, which Defendants have not disputed. See ECF No. 60-1 at
12.


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product to a U.S buyer and that the only way Defendants’ debt would be satisfied was through

such a sale. Id. at 14–15. By February 1996, Plaintiff was ready to ship the product to a New

York company who it had contracted with for the sale of the sulfur and urea. Id. at 15. Defendants,

however, failed to deliver either the sulfur or urea to Plaintiff. Id.

       Faced with this breach of contract, starting around June 1997 and ending around late 2008

or early 2009, Plaintiff’s representatives met in person with Iraqi government officials on several

occasions to discuss both the agreement and Defendants’ failure to deliver the promised product.

Id. at 15–16. During those meetings, Plaintiff alleges that the officials reviewed the Export Com-

mitment Letter and orally assured Plaintiff’s representatives that the contract was valid and en-

forceable and that, should Defendants continue to fail to uphold their end of the bargain, Plaintiff

could sue Defendants anywhere, including in the United States, and Defendants would not dispute

the lawsuit. Id. at 16. Despite these oral assurances, Defendants never shipped the product. Id.

       In November 2010, Plaintiff sued Defendants in Jordanian court for breaching the contract.

Id. And again, in late 2011 or early 2012, the then-head of the Ministry told one of Plaintiff’s

representatives that “Iraq would not release any money unless [Plaintiff] ha[d] a court order” from

the “Middle East, Europe, or the United States,” and that “Iraq would not and could not dispute

the lawsuit at all.” Id. (alterations in original). In September 2015, the Jordanian court found

Defendants jointly and severally liable for breaching the agreement to ship the product and

awarded Plaintiff $53 million in damages. ECF No. 1, ¶ 16; see ECF No. 1-2 at 3–16. In a sub-

sequent proceeding seeking to execute the September 2015 judgment by attaching Iraqi monies

and property located in Jordan, an appellate court in Jordan concluded that Defendants had not

waived sovereign immunity with respect to that proceeding against its property in Jordan. ECF




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Nos. 60-1 at 31–33, 60-4 at 6–7; ECF No. 66 at 35–36. To date, neither Defendant has paid any

portion of the judgment. ECF No. 66 at 16.

        On October 23, 2017, Plaintiff filed the present suit for recognition of the Jordanian judg-

ment under the D.C. Recognition Act. ECF No. 1. Defendants missed their deadlines for respond-

ing to the Complaint. ECF No. 33 at 7. Thus, the Clerk of the Court entered default against them.

ECF No. 15. Over eleven months later, and after Plaintiff filed an amended motion for default

judgment (ECF No. 24), Defendants appeared and filed a motion to dismiss the Complaint (ECF

No. 28) and a motion to set aside entry of default (ECF No. 29). Those motions were adjudicated

in January and March 2020. See ECF No. 40 (the undersigned’s January 2020 Report and Rec-

ommendation); Nassif, 2020 WL 1444918, at *5 (Judge Jackson’s March 2020 Memorandum

Opinion adopting in part the January 2020 Report and Recommendation). In accordance with

Judge Jackson’s Memorandum Opinion and Order, Plaintiff reattempted proper service under the

FSIA. In August 2020, Plaintiff requested the Clerk of the Court effect service pursuant to 28

U.S.C. § 1608(a)(3) on each Defendant by sending, via FedEx, one copy of the summons, com-

plaint, and notice of suit, together with a translation of each into the official language of the foreign

state, to the head of the ministry of foreign affairs. See ECF Nos. 52–53. Both envelopes were

addressed to Mr. Faud Hussein, Iraq’s Minister of Foreign Affairs, curing the error in Plaintiff’s

first attempt at service under section 1608(a)(3). ECF Nos. 57–58. After proper service was made

(id.), Defendants filed a renewed motion to dismiss in November 2020. ECF No. 60.

        In their renewed motion, Defendants again allege lack of subject-matter jurisdiction on

foreign sovereign immunity grounds and failure to state a claim upon which relief can be granted

because the parties’ commercial contract purportedly violated the United States’ sanctions against

Iraq that were in place when the parties entered the contract. ECF No. 60-1 at 10–11. Defendants



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also add a new argument that the case should be dismissed on forum non conveniens grounds. ECF

No. 60-1 at 11. In response, Plaintiff maintains that Defendants explicitly waived sovereign im-

munity in Plaintiff’s oral conversations with senior Iraqi officials, that the United States’ sanctions

against Iraq are not a basis for dismissal under 12(b)(6), and that controlling Circuit law forecloses

Defendants’ forum non conveniens argument. ECF No. 66 at 16. Notably, many of Defendants’

arguments and Plaintiff’s responses regarding dismissal under 12(b)(1) and 12(b)(6) were before

the undersigned in Defendants’ first motion to dismiss and addressed in the January 2020 Report

and Recommendation. Those recommendations were not addressed by Judge Jackson because she

found that the “undisputed service defect [ ] render[ed] the [ ] arguments in Defendants’ pending

motion to dismiss moot.” Nassif, 2020 WL 1444918, at *4–5. Accordingly, Defendants having

renewed those same arguments, much of the analysis here concerning those issues is substantially

similar to the undersigned’s prior Report and Recommendation.

                                      II.     LEGAL STANDARDS

       A.      Rule 12(b)(1)

       “The established standard for evaluating a motion to dismiss under Rule 12(b)(1) in a case

that implicates the FSIA is a nuanced one.” SACE S.p.A. v. Republic of Paraguay, 243 F. Supp.

3d 21, 32 (D.D.C. 2017). This Court and the D.C. Circuit have ably set out that standard in prior

cases. To begin, “a foreign state is ‘presumptively immune from the jurisdiction of United States

courts unless a specific exception [under the FSIA] applies.’” Id. at 31 (quoting TJGEM LLC v.

Republic of Ghana, 26 F. Supp. 3d 1, 7–8 (D.D.C. 2013)). Once a plaintiff meets that initial

burden, “the sovereign [then] bears the ultimate burden of persuasion to show the exception does

not apply.” Id. (quoting Bell Helicopter Textron, Inc. v. Islamic Republic of Iran, 734 F.3d 1175,

1183 (D.C. Cir. 2013)). In attempting to meet that burden of persuasion, a defendant “‘may



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challenge either [1] the legal sufficiency’ of the allegations that appear on the face of the complaint

‘or [2] the factual underpinning of [the] exception’ upon which the plaintiff relies, or both.” SACE,

243 F. Supp. 3d at 32 (alterations in original) (quoting Phoenix Consulting Inc. v. Republic of

Angola, 216 F.3d 36, 40 (D.C. Cir. 2000)).

       “[H]ow the district court proceeds to resolve the motion to dismiss depends upon whether

the motion presents a factual challenge” or a legal challenge. Phoenix Consulting, 216 F.3d at 40.

If the defendant disputes the facts underlying the complaint, then “the court may not deny the

motion to dismiss merely by assuming the truth of the facts alleged by the plaintiff and disputed

by the defendant. Instead, the court must go beyond the pleadings and resolve any disputed issues

of fact the resolution of which is necessary to a ruling upon the motion to dismiss.” Id. at 40.

Importantly, a preliminary determination early in the litigation denying a foreign sovereign’s mo-

tion to dismiss asserting sovereign immunity “is ‘not a conclusive determination’ but is ‘instead

subject to change in light of further development of the facts.’” Dentons U.S. LLP v. Republic of

Guinea, 410 F. Supp. 3d 194, 206 (D.D.C. 2019) (quoting Price v. Socialist People’s Libyan Arab

Jamajiriya, 389 F.3d 192, 197 (D.C. Cir. 2004)); see also I.T. Consultants, Inc. v. Republic of

Pakistan, 351 F.3d 1184, 1188 (D.C. Cir. 2003) (same). “If the defendant challenges only the

legal sufficiency of the plaintiff’s jurisdictional allegations, then the district court should take the

plaintiff’s factual allegations as true and determine whether they bring the case within any of the

exceptions to immunity invoked by the plaintiff.” Phoenix Consulting, 216 F.3d at 40. Thus,

“[t]o survive such a [legal] challenge, the complaint’s allegations, ‘if true, must show that the

defendant’s conduct falls within the ambit of at least one of the FSIA’s exceptions to sovereign

immunity.’” SACE, 243 F. Supp. 3d at 33 (quoting Agrocomplect, AD v. Republic of Iraq, 524 F.

Supp. 2d 16, 21 n.8 (D.D.C. 2007)).



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       B.      Rule 12(b)(6)

       To withstand a Rule 12(b)(6) motion to dismiss for failure to state a claim upon which

relief can be granted, “a complaint must contain sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although a court must assume the veracity

of the complaint’s factual allegations and construe them in the light most favorable to the plaintiff,

a court need not accept a plaintiff’s conclusory assertions or legal conclusions. See Iqbal, 556

U.S. at 678; Twombly, 550 U.S. at 555. Notably, “a Rule 12(b)(6) motion does not test a plaintiff’s

ultimate likelihood of success on the merits; rather, it tests whether a plaintiff has properly stated

a claim.” Coulibaly v. Kerry, 213 F. Supp. 3d 93, 123 (D.D.C. 2016). Accordingly, a plaintiff is

“not required to anticipatorily negate” an affirmative defense in its complaint. McNamara v.

Picken, 866 F. Supp. 2d 10, 17 (D.D.C. 2012); see Chem-Met Co. v. Metaland Int’l, Inc., No. Civ.

A. 96-2548, 1997 WL 74541, at *2 (D.D.C. Feb. 19, 1997) (noting that the Federal Rules of Civil

Procedure “only require a plaintiff to set forth a short, plain statement of its claims; they do not

require a plaintiff to anticipate affirmative defenses which might be raised by a defendant”).

       C.      Forum Non Conveniens

       To successfully argue that dismissal is warranted on forum non conveniens grounds, the

moving party must show that (1) an adequate alternative forum for the dispute is available and (2)

balancing the private and public interest factors strongly favors dismissal. Agudas Chasidei Cha-

bad v. Russian Federation, 528 F.3d 934, 950 (D.C. Cir. 2008). To guide trial court discretion in

balancing the private and public interest factors, the Supreme Court has provided a non-exhaustive

list of private factors, which recognize that certain “practical [considerations] [can] make trial of

a case easy, expeditious and inexpensive[,]” and considers “the relative ease of access to sources



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of proof; [ ] availability of compulsory process for attendance of unwilling, and the cost of obtain-

ing attendance of willing, witnesses,” as well as public interest factors, which recognize that

“[a]dministrative difficulties follow for courts when litigation is piled up in congested centers in-

stead of being handled at its origin” and consider whether the litigation impacts a particular com-

munity or many persons, whether the litigation is one of localized controversy, and whether the

case is governed by state law that courts in the home forum are best suited to apply. Gulf Oil Corp.

v. Gilbert, 330 U.S. 501, 508–09 (1947).

                                             III.     DISCUSSION

         For the reasons stated below, this Court should deny Defendants’ motion to dismiss. There

is sufficient unrebutted evidence to find at this stage of the litigation that Defendants explicitly

waived sovereign immunity and that this Court therefore has subject-matter jurisdiction. Further-

more, this Court should reject Defendants’ arguments to dismiss for failure to state a claim upon

which relief can be granted and on forum non conveniens grounds.

         A.       Dismissal Under Rule 12(b)(1)

         The FSIA affords “the sole basis for obtaining jurisdiction over a foreign state in our

courts.” Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434 (1989). Under

the FSIA, a foreign state 3 “is presumptively immune from the jurisdiction of United States courts;

unless a specified exception applies, a federal court lacks subject-matter jurisdiction over a claim

against a foreign state.” Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993). Plaintiff relies on two

potential exceptions to sovereign immunity as a basis for suit here: explicit waiver 4 under 28


3
  The FSIA defines the term “foreign state” for purposes of the Act as including “a political subdivision of a foreign
state or an agency or instrumentality of a foreign state. See 28 U.S.C. § 1603. Here, Plaintiff does not dispute that
the FSIA applies to both Defendants. See ECF No. 1 ¶¶ 3–4; ECF No. 66 at 18–38. Thus, this Court need not address
this issue.
4
 A foreign state may also implicitly waive its immunity. 28 U.S.C. § 1605(a)(1). Plaintiff, however, argues only that
Defendants have explicitly waived their immunity and asserts that implicit waiver is irrelevant to this case. See ECF

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U.S.C. § 1605(a)(1), and the third clause of the commercial activities exception under 28 U.S.C.

§ 1605(a)(2).

        For the reasons that follow, the undersigned finds that Plaintiff has met its burden of pro-

duction to show that Defendants here, the Republic of Iraq and its Ministry of Industry and Min-

erals, explicitly waived their sovereign immunity from suit in the United States. The undersigned

further finds that Defendants have not, at this time, met their burden of persuasion by showing

either that the Complaint’s allegations fail to provide a legally sufficient basis for finding that

Defendants explicitly waived sovereign immunity or that there is an absence of a factual basis for

such conclusion. This Court may end its inquiry there and deny Defendants’ motion to dismiss

for lack of subject-matter jurisdiction. Nevertheless, the undersigned will also address the com-

mercial activities exception, as well as Defendants’ argument that waiver cannot be based on the

parties’ contract because the contract violated United States sanctions against Iraq.

                 1.       Explicit Waiver of Sovereign Immunity

        “In general, explicit waivers of sovereign immunity are narrowly construed ‘in favor of the

sovereign’ and are not enlarged ‘beyond what the language requires.’” World Wide Minerals, Ltd.

v. Rep. of Kazakhstan, 296 F.3d 1154, 1162 (D.C. Cir. 2002) (quoting Library of Cong. v. Shaw,

478 U.S. 310, 318 (1986)). Thus, a foreign state “will not be found to have [explicitly] waived its

immunity unless it has clearly and unambiguously done so.” World Wide Minerals, 296 F.3d at

1162 (citing Aquamar S.A. v. Del Monte Fresh Produce N.A., Inc., 179 F.3d 1279, 1292 (11th Cir.

1999)). “An express waiver under section 1605(a)(1) must give a clear, complete, unambiguous,

and unmistakable manifestation of the sovereign’s intent to waive its immunity.” Id. (quoting



No. 66 at 25 (“Plaintiff’s argument, to be clear, is that Defendants explicitly waived immunity.”). Thus, this Court
need not address implicit waiver.


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Aquamar S.A., 179 F.3d at 1292). The purpose of requiring explicit waiver is to preclude “unin-

tended [or inadvertent] waiver.” Libra Bank Ltd. v. Banco Nacional de Costa Rica, S.A., 676 F.2d

47, 50 (2d Cir. 1982). To establish that the explicit waiver exception to sovereign immunity ap-

plies, Plaintiff must “come[ ] forward with [adequate supporting evidence] to carry its burden of

production” that Defendants have explicitly waived sovereign immunity; Defendants then must

“shoulder the burden of persuasion” to show that they have not explicitly waived sovereign im-

munity. SACE, 243 F. Supp. 3d at 32. Defendants may challenge “the legal sufficiency of [Plain-

tiff’s] jurisdictional allegations,” “the factual basis of the court’s jurisdiction,” or both. Phoenix

Consulting, 216 F.3d at 40. Recall that, where a defendant raises a factual challenge, the court

must go beyond the pleadings and “resolv[e] the factual disputes between the parties.” Erby v.

United States, 424 F. Supp. 2d 180, 183 (D.D.C. 2006) (quoting Valentin v. Hospital Bella Vista,

254 F.3d 358, 363 (1st Cir. 2001)).

       Defendants’ motion to dismiss raises both factual and legal challenges to the allegations

contained in Plaintiff’s Complaint. Defendants’ factual challenge is that the Iraqi officials whose

statements Plaintiff relies on to allege waiver of sovereign immunity lacked the authority to waive

sovereign immunity under Iraqi law. Defendants’ legal challenges are that (1) to be effective, an

explicit waiver of sovereign immunity must be in the parties’ commercial contract, or, at minimum,

in writing and contain the words “waiver” or “immunity;” (2) even if sovereign immunity can be

waived orally, the statement must still include the words “waiver” or “immunity;” (3) international

comity and res judicata weigh in favor of this Court deferring to a Jordanian court’s decision

concluding that Defendants did not waive sovereign immunity; and (4) even if the Court deter-

mines that the Iraqi officials did waive sovereign immunity as to the Export Commitment Letter,




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an additional waiver of “execution” immunity, which Plaintiff has failed to allege, is necessary for

these proceedings.

        The following discussion first addresses Plaintiff’s evidence in support of explicit waiver,

and Defendants’ factual challenge to that evidence, then addresses whether Defendants’ legal chal-

lenges to Plaintiff’s allegations show that there is no legal basis for finding explicit waiver. For

the sake of clarity, the undersigned will address the factual dispute and the legal disputes separately

in Parts III.A.1.a. and III.A.1.b.

                        a.      Plaintiff’s Evidence of Explicit Waiver and Defendants’ Factual
                                Challenge

        In support of its argument that Defendants explicitly waived sovereign immunity, Plaintiff

provides a number of declarations, detailing the following statements allegedly made by three

Ministers of the Ministry of Industry and Minerals of Iraq, a former President of the Iraqi Govern-

ing Council of Iraq, and the Director General of the Ministry of Industry and Minerals’ Economic

Department:

        “On or about June 1997, . . . [the Iraqi Minister of Industry and Minerals,] Adnan
        Al-Ani, . . . said that [Plaintiff] had the right to sue Iraq on the [Export Commit-
        ment] Letter, that it had the right to sue Iraq anywhere on this obligation and that
        Iraq would not object to being sued anywhere. In fact, the Minister expressly in-
        formed [Plaintiff’s representative] that, if [Plaintiff] was to sue, [it] should not sue
        in Iraq, should stay out of the Arab states and should sue elsewhere.

ECF No. 24-3 at 3, ¶¶ 10–11, 14.

        [In] September 2003, [the then-]President of the Iraqi Governing Council, [Ahmed
        Chalabi,] read the [Export Commitment] Letter and confirmed that it was indeed
        an unconditional undertaking and that it was a valid commercial obligation of the
        Republic of Iraq. . . . He agreed that it was [Plaintiff’s] right to sue and that there
        was no limitation in the Letter requiring [Plaintiff] to sue in Iraq. In fact, he stated
        that the Letter was a valid, unconditional obligation and that it could be enforced
        against Iraq anywhere . . . .

ECF No. 24-5 at 4–5, ¶¶ 19, 21, 25–26.



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       [On or about March 2006,] Yakoub Yousef Shonia [Counsel for the Ministry’s
       Economic Department and the Iraqi official who signed the Export Commitment
       Letter as Director General of the Economic Department] . . . reviewed the Letter,
       recalled well his signing of the same and stated that . . . [Plaintiff] had the right to
       sue Iraq anywhere to enforce its rights under the Letter, whether in the Middle East,
       Europe or the United States. . . . [I]n fact, Mr. Shonia stated that Iraq and the Min-
       istry would have no defense to any such lawsuit by [Plaintiff].

ECF No. 24-6 at 2–3, ¶¶ 4–5, 7–8; see also id. at 13.

       [I]n the winter of 2008-2009 . . . the Minister of Industry and Minerals of the Re-
       public of Iraq, Fawzi Franco Hariri, . . . told [Plaintiff’s representative] that, in or-
       der to collect [on the debt], [Plaintiff] would have to bring a lawsuit. He also said
       that [Plaintiff] may sue Iraq and the Ministry anywhere it wants—including in the
       Middle East, Europe or the United States . . . .

ECF No. 24-3 at 3, ¶¶ 10–11.

       In the winter of 2011-2012 . . . the subsequent Minister of Industry and Minerals of
       the Republic of Iraq, Ahmad Al Karbouli, . . . [stated] that [Plaintiff] may sue Iraq
       and the Ministry anywhere it would like, [and] that Iraq would not and could not
       dispute the lawsuit at all . . . . Mr. Karbouli actually explained . . . [that Plaintiff]
       should sue Iraq and the Ministry in any country, [and] that Iraq and the Ministry
       would not and could not dispute the suit . . . .

Id. at 3–4, ¶¶ 13–15. Put simply, Plaintiff has offered evidence that, on multiple occasions, five

senior Iraqi government officials told Plaintiff that it could sue Defendants anywhere in the world

and Defendants would not object and would have no defense to such suit.

       At this point in the proceedings, Defendants’ do not dispute that those statements were

made. So, accepting those statements as true, the Court must assess, as an initial matter, whether

they provide “adequate supporting evidence” sufficient to support Plaintiff’s burden of production

demonstrating an explicit waiver of Defendants’ sovereign immunity under section 1605(a)(1).

SACE S.p.A., 243 F. Supp. 3d at 33; Bell Helicopter, 734 F.3d 1175, 1183 (D.C. Cir. 2013) (“[T]he

plaintiff bears the initial burden to overcome [the presumption of immunity] by producing evi-

dence that an exception applies.”). As this Court has observed, the “meaning of ‘burden of pro-

duction’ here is not wholly self-evident, as that term usually refers to the amount of evidence a


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party must present to allow an issue to go to a jury—a concern not directly applicable in the jury-

less context of FSIA cases.” Owens v. Republic of Sudan, 174 F. Supp. 3d 242, 276 (D.D.C. 2016).

But this Court has explained that the “usual meaning suggests a burden akin to the requirements

of ‘substantial evidence’ in administrative law.” Id.

        The point is: the bar is relatively low. Yes, the existence of the burden of produc-
        tion means that the plaintiff must provide some evidence that could convince a fact-
        finder of the jurisdictional fact in question. But because the ultimate burden of per-
        suasion lies with the defendant, in cases where the defendant offers little or no ev-
        idence of its own, even a meager showing by the plaintiff will suffice. It is for this
        reason that the D.C. Circuit has adverted to the “risk[ ]” run by a FSIA “defendant
        that chooses to remain silent.”

Id. (alteration in original) (quoting Simpson v. Socialist People’s Libyan Arab Jamahiriya, 470

F.3d 356, 361 (D.C. Cir. 2006)). Defendants run that risk here as they have not, as yet, disputed

that the senior Iraqi officials in question made the statements attributed to them by Plaintiff. The

question then is whether that evidence is sufficient to meet the “relatively low”—indeed, the “mea-

ger showing”—necessary to satisfy Plaintiff’s burden of production. Id.

        The undersigned finds that it is sufficient. Taking the repeated statements of senior Iraqi

officials at face value, while they do not use the words “waiver” or “sovereign immunity,” they

quite clearly permit Plaintiff to sue Defendants in the United States to enforce the parties’ contract,

see, e.g., ECF No. 24-6 at 3, ¶ 7 (“[Plaintiff] ha[s] the right to sue Iraq anywhere to enforce its

rights under the [Export Commitment] Letter, whether in the Middle East, Europe or the United

States.”); id. at 3, ¶ 11 (“[Plaintiff] may sue Iraq and the Ministry anywhere it wants—including

in the . . . United States . . . .”); see ECF No. 24-3 at 3, ¶ 14 (“Plaintiff ha[s] the right to sue Iraq

on the Letter, [ ] it ha[s] the right to sue Iraq anywhere on this obligation[,] and [ ] Iraq would not

object to being sued anywhere.”); ECF No. 24-5 at 5, ¶ 26 (“[T]here [is] no limitation in the Letter

requiring [Plaintiff] to sue in Iraq. In fact, . . . the Letter [is] a valid, unconditional obligation and



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[ ] it could be enforced against Iraq anywhere . . . ..”); ECF No. 24-6 at 4, ¶ 15 (“[Plaintiff] should

sue Iraq and the Ministry in any country . . . .”), and they waive any defenses or objections De-

fendants may have to such a lawsuit, see, e.g., ECF No. 24-6 at 3, ¶ 8 (“Iraq and the Ministry

would have no defense to any such lawsuit by [Plaintiff].”); id. at 4, ¶ 14 (“Iraq would not and

could not dispute the lawsuit at all . . . .”). Notably, at this point in the proceedings, Defendants

do not argue that the Iraqi officials who made the alleged statements were unfamiliar with the

concept of sovereign immunity when the statements were made, nor do Defendants dispute that

their statements addressed whether and where Plaintiff could sue Defendants for breach of the

parties’ alleged agreement. 5

        However, Defendants do assert that the Iraqi officials on whose statements Plaintiff relies

lacked actual authority to waive sovereign immunity under Iraqi law because the alleged waivers

here were neither in writing nor properly authorized by the Republic of Iraq. ECF No. 60-1 at 19–

20, 25–31; see SACE, 243 F. Supp. 3d at 34 (considering, as a factual challenge, the defendant’s

argument that the record failed to demonstrate that the government official had authority to act on

behalf of the foreign state). As a preliminary matter, Defendants are correct that actual authority,

rather than apparent authority, is required for waiver of sovereign immunity. This Court has pre-

viously “conclude[d] that ‘the foreign state’ as that phrase appears in 28 U.S.C. § 1605(a)(1) en-

compasses only agents of the foreign state who are actually authorized to waive sovereign immun-

ity.” SACE, 243 F. Supp. 3d at 39. “[T]he FSIA ‘unambiguously indicate[s] that only official

acts, i.e. acts actually authorized by “the foreign state,” can invoke the [waiver] exception. . . .’”




5
 In reply, Defendants suggest that the statements merely “acknowledg[e] that there was no venue provision [in the
contract]” (ECF No. 67 at 14), but that ignores Defendants’ additional statements that they would not object to suit
anywhere and would not assert a defense to suit anywhere. Taking those statements at face value, they encompass a
waiver of far more than just a defense of improper venue.


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Id. at 38 (second and third alterations in original) (quoting the record). Accordingly, the Iraqi

officials who made the statements on which Plaintiff relies to establish a waiver of sovereign im-

munity must have possessed actual, rather than merely apparent, authority under Iraqi law to waive

Iraq’s sovereign immunity. The question, then, is what the present factual record shows with

respect to the Iraqi officials’ authority under Iraqi law to waive sovereign immunity. See, e.g.,

TJGEM, 26 F. Supp. 3d at 9–10 (addressing the question of whether “the foreign state” engaged

in conduct that would constitute a waiver of sovereign immunity by looking to whether the official

who engaged in the conduct was empowered under the foreign state’s laws to bind the foreign

state).

          Under the Federal Rules of Civil Procedure, “[i]n determining foreign law, the court may

consider any relevant material or source, including testimony, whether or not submitted by a party

or admissible under the Federal Rules of Evidence.” Fed. R. Civ. P. 44.1. “Most often, for-

eign law is established through ‘written or oral expert testimony accompanied by extracts from

foreign legal material.’” Chin-Teh Hsu v. New Mighty U.S. Tr., No. 10-CV-1743, 2020 WL

588322, at *3 (D.D.C. Feb. 6, 2020) (some internal quotation marks omitted) (quoting Estate of

Botvin v. Islamic Republic of Iran, 873 F. Supp. 2d 232, 240 (D.D.C. 2012)). But “[s]uch expert

testimony is intended [only] to aid the court in determining the content of the law, not in applying

that law to the facts of the case.” Id. (quoting Estate of Botvin, 873 F. Supp. 2d at 240). Defendants

and Plaintiff have both submitted declarations from Iraqi lawyers and government officials de-

scribing Iraqi law, custom, and practice with respect to waivers of sovereign immunity. 6 A review


6
  The undersigned finds, based on the qualifications described in each of the declarations—that is, the reply Declara-
tion of Hannan Munther Niseaf (ECF No. 67-2), the Declaration of Hassan Salman Hassan Hassan (ECF No. 66-3),
and the Declaration of Dhaif Abdulmajeed Ahmed Al-Tekreeti (ECF No. 66-2)—that each declarant, at least at this
stage of the proceedings, has made enough of a showing that they would qualify as an expert on Iraqi law under
Federal Rule of Evidence 702. Ms. Niseaf has served as General Director of Iraq’s Ministry of Justice Legal Depart-
ment since 2005. ECF No. 67-2 at 2. She received her law degree in 1991 and worked in the legal department of the
Iraqi Cabinet Secretariat from 1992 until 2003. Id. Between 2016 and 2019, Ms. Niseaf avers that she “served as a

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of Plaintiff’s declarations establishes that it has met its burden of production at this stage of the

proceedings to show that the officials who made the statements waiving sovereign immunity had

the authority to do so under Iraqi law at the time they were made.

         Plaintiff first provides the declaration of Hassan Salman Hassan Hassan. Mr. Hassan avers

that he is a citizen of the Republic of Iraq and an attorney specializing in Iraqi law and international

law. ECF No. 66-3 at 2. According to Mr. Hassan, “[t]he President of the Republic of Iraq [and

ministers of any constituent Ministry of the Republic of Iraq] ha[ve] always had the full authority

to waive the sovereign immunity of the Republic of Iraq [and its Ministries] in any matter” and

“th[at] authority is not circumscribed by the Ministry of Justice or by any other government body.”

Id. at 3. Mr. Hassan further avers that “[t]here is no Iraqi law or custom and practice in Iraq,[7] and

there has been no Iraqi law or custom and practice in Iraq at all relevant times in [this matter], that

provides that waivers of sovereign immunity must be in writing.” Id. Indeed, according to Mr.

Hassan “[a]t all relevant times in [this] matter,” that is, during the time period that the statements

upon with Plaintiff relies were made, “waivers of sovereign immunity could have been made orally

by the President of the Republic of Iraq or any Ministers of the Republic of Iraq.” Id.

         Plaintiff also submits a declaration from Dhaif Abdulmajeed Ahmed Al-Tekreeti, the Sec-

retary General of the Iraqi Forum for Intellectuals and Academics. Id. at 2. Mr. Al-Tekreeti states

that “[f]rom 1970 to 1975, [he] served at the Ministry of Industry and Minerals of the Republic of



consultant to the Iraqi State Council and as a member of the Supreme Administrative Court, where [she] drafted
legislation and prepared legal opinion and judgments.” Id. Mr. Hassan graduated from law school in 1969 and has
49 years of experience practicing, teaching, and consulting on Iraqi law and international law. ECF No. 66-3 at 2.
Mr. Al-Tekreeti is the Secretary General of the Iraqi Forum for Intellectuals and Academics and has served in a number
of high-level positions in the Iraqi government since 1970, including with the Military Industry Commission of the
Republic of Iraq, Military Defense Commission, Presidential Office of the Republic of Iraq, and the Ministry of For-
eign Affairs. ECF No. 66-2 at 2–3.
7
 The declarations at issue repeatedly refers to Iraqi custom and practice because, under Iraqi law “[i]n the absence of
any applicable legislative provisions in the law the court[s] [in Iraq] [ ] adjudicate according to custom and usage.”
ECF No. 60-3 at 2 (first alteration in original).

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Iraq”; [f]rom 1975 until 1997, [he] served at the Military Industry Commission of the Republic of

Iraq”; “[f]rom 1993 to 1995, [he] served as Deputy Director-General at the Military Defense Com-

mission”; and in 1995, “[he] became the Director-General of the Military Defense Commission.”

Id. at 2–3. In addition, “[f]rom 1997 to 2001, [he] served as Deputy Head of the Presidential Office

of the Republic of Iraq” and “[f]rom 2001 to 2004, [he] served at the Ministry of Foreign Affairs.”

Id. at 3. During his time with the Ministry of Foreign Affairs, Mr. Al-Tekreeti explains that he

“served as Ambassador of the Republic of Iraq to the Republic of Belarus” and “served as a Mem-

ber of the Council of Ministers of the Republic of Iraq.” Id. Mr. Al-Tekreeti avers that he is aware

of Iraqi customs and practices “involving the waiver of sovereign immunity[ ] throughout the

1990s and 2000s” because of his “dealings with private companies, [in which] waiver of sovereign

immunity was an important consideration.” Id. According to Mr. Al-Tekreeti, it was “never [ ] a

recognized custom or practice within the government of Iraq, in [his] experience, throughout the

1990s and 2000s, that waivers of sovereign immunity be in writing or that a written memorializa-

tion of any oral waiver be recorded with the legal department of the Ministry of Justice.” Id. Mr.

Al-Tekreeti claims that “in [his] experience, throughout the 1990s and 2000s,” the custom and

practice was “that the head of a ministry and the head of state of the Republic of Iraq [could]

indeed waive sovereign immunity as to a particular matter and may do so orally or in writing,” and

had “full authority” to do so. Id. at 3–4. In fact, Mr. Al-Tekreeti says that he remembers speaking

about the Export Commitment Letter with Adnan Al-Ani—one of the officials whose statement

Plaintiff relies on to establish explicit waiver of sovereign immunity—in 1997 when Mr. Al-Ani

was the Minister of Industry and Minerals of the Republic of Iraq. Id. at 4. According to Mr. Al-

Tekreeti, he and Minister Al-Ani “discussed that [Plaintiff] had the right to sue Iraq on the Letter,

that it had the right to sue Iraq anywhere on [the letter] and that Iraq would not object to being



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sued by [Plaintiff] anywhere.” Id. Together, this evidence is sufficient to meet Plaintiff’s rela-

tively low burden of production at this stage of the proceedings that Iraqi officials with actual

authority waived sovereign immunity here.

        The burden then shifts to Defendants to demonstrate by a preponderance of the evidence

that there is no factual basis for concluding that Defendants explicitly waived sovereign immunity

because the Iraqi officials whose statements Plaintiff relies on lacked the authority to waive sov-

ereign immunity under Iraqi law. ECF No. 60-1 at 19–20, 25–31. To meet their burden, they rely

on two declarations from Hanan Munther Niseaf, the General Director of the Legal Department

for the Ministry of Justice for the Republic of Iraq, to support their argument that the Iraqi officials

here lacked the authority to waive sovereign immunity. Ms. Niseaf’s overarching point is that the

oral statements on which Plaintiff relies should not be credited by the Court because, to be legally

authorized, “Iraqi law and Iraqi government custom and practice require that waivers of sovereign

immunity by the Republic of Iraq and its Ministries must be in writing.” ECF No. 60-3 at 2. As

support, she makes certain pronouncements about Iraqi custom and practice requiring a written

record of official actions and cites certain provisions from the Iraqi Civil Code governing the use

of extrinsic evidence in contract cases (the particulars of which are discussed below). Id. at 2–4.

But the declaration suffers from a fundamental shortcoming: as Plaintiff emphasizes, Ms. Niseaf’s

declaration is “irrelevant to the actual waivers in this matter” because “[e]ven if [her declaration]

were to correctly describe Iraqi custom and practices [today] . . . it does not attest to the nature of

Iraqi ‘custom and practice’ at the time the oral statements were made, which . . . was over twenty

years ago.” ECF No. 66 at 32. So, “[a]t [ ] best, [Ms. Niseaf’s Declaration] describes the possible

‘custom and practice’ presently and makes no reference whatsoever as to the custom and practice

as to waiver at the time of the oral statements.” Id. Nor does the declaration make any



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representation that the provisions of the Iraqi Civil Code cited were in force at the time of the

waivers. That same deficiency plagues her second declaration, which still does not provide any

explanation regarding what the Iraqi custom or law required with respect to waivers of sovereign

immunity during the 1990s and 2000s. See generally ECF No. 67-2. Instead, Ms. Niseaf notes

that Iraq joined the United Nations Convention on Immunities of States and their Property in 2015

(“U.N. Convention”), which requires such waivers to be in writing or made in open court. Id. at

3–4. But that misses the point. What Iraqi custom and law required as of 2015 does not show

what was required in the 1990s and 2000s when the alleged oral statements by Iraqi officials were

made here.

       There are further significant deficiencies in Ms. Niseaf’s declarations. Her explication of

Iraqi custom and practice is imprecise and confused. As noted, she asserts that “Iraqi government

custom and practice require that waivers of sovereign immunity by the Republic of Iraq and its

Ministries must be in writing.” ECF No. 60-3 at 2. But what exactly Ms. Niseaf means by that

statement is unclear: does Iraqi custom and law require a written authorization by the Republic of

Iraq before an Iraqi government official may waive sovereign immunity or does it mandate that

only written waivers of sovereign immunity by Iraqi government officials are operative, or both?

Review of the rest of Ms. Niseaf’s declaration does little to clarify the matter. Her declaration at

first suggests that all that Iraqi law and/or custom requires is some “official [written] record of the

alleged action” and thus the Iraqi officials only lacked authority to orally waive sovereign immun-

ity if there was no official written record of such waiver. ECF No. 60-3 at 3. But then she suggests

that not just any written record would be sufficient to waive sovereign immunity; instead, such

waiver would have had to be part of the parties’ contract. Id. (noting that if Defendants “had

actually agreed to a wavier of [ ] sovereign immunity . . . that had to be stated explicitly in the



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written Export Commitment Letter itself, or in a written amendment or addendum to the Export

Commitment Letter”). Still later in her declaration Ms. Niseaf suggests that neither some written

record nor a waiver provision in the Export Commitment Letter alone would be enough, but rather

a more official, written memorialization by the Ministry of Justice would be required because

waiver of “sovereign immunity is within the exclusive power of the Ministry of Justice.” Id. Ms.

Niseaf then explains that she “found no legal opinion rendered by the Ministry of Justice that the

Republic of Iraq and its Ministry could be sued in the United States in connection with this matter”;

thus, the “Iraqi government officials [here] lacked actual authority to allegedly orally waive [ ]

sovereign immunity.” Id. So, it is clear enough that Ms. Niseaf does not believe the Iraqi officials

here had the authority to waive sovereign immunity, but it is not clear if that is because Iraqi

custom simply prohibits oral waivers of sovereign immunity that are not recorded, because there

was no waiver provision in the Export Commitment Letter, or because only the Ministry of Justice

may waive sovereign immunity. 8

         Ms. Niseaf’s citation of provisions of the Iraqi Civil Code is similarly unconvincing. ECF

No. 60-3 at 3–5. Specifically, she points to three provisions of Iraqi contract law—Article 486,

which she asserts provides, “Evidence may be used to establish other than contractual obliga-

tions”; Article 489, which she asserts provides, “Evidence may not be adduced to prove contractual

obligations even where the amount claimed is not more than 10 dinars in the following cases: (a)

that which contradicts or is in excess of that which is contained in a written proof”; and Article

490, which she asserts provides: “(1) Evidence may be adduced to prove matters of contractual


8
  Plaintiff points out that “[Ms.] Niseaf [ ] fail[ed] to explain how she performed the search [for legal opinions related
to the matter], where she performed the search, what she did to try to find the ‘record[,]’ how such ‘records’ are kept,
how many such ‘records’ are on file, and when such ‘records’ started being kept.” ECF No. 66 at 32. Therfore, “the
fact that [Ms.] Niseaf cannot find a ‘written record’ of the waiver of sovereign immunity by 5 government officials
some 20 years ago” may not mean anything, “especially since there is not a single averment in [her] [d]eclaration that
such was the custom and practice in the 1990s and 2000s.” Id. It is thus unclear whether the search Ms. Niseaf
engaged in was adequate and would have been likely to turn up any relevant documents.

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obligations even where the value of the claim exceeds 10 dinars if there is a basis of proof in

writing,” and “(2) A basis of proof in writing is every writing issued by the adversary which tends

to render the existence of the right claimed a near probability.” ECF No. 60-3 at 4. Ms. Niseaf

explains that “the alleged oral statements by [the] Iraqi government officials constitute [extrinsic

evidence] seeking to add terms [to] the [Export Commitment Letter]” and that Iraqi contract law

requires such evidence to be in writing. Id. But the cited provisions do not say that waivers of

sovereign immunity must be made explicit in a commercial contract, nor does Ms. Niseaf suggest

that the cited provisions require that. Indeed, the cited code provisions do not address principles

of sovereign immunity at all, but rather of Iraqi contract law. More, Plaintiff does not argue that

the commercial contract included the relevant waiver of sovereign immunity, it argues that the oral

statements of Iraqi officials waived sovereign immunity. And U.S. courts have found that a foreign

state may explicitly waive its immunity after a lawsuit arising from a commercial contract com-

mences. See, e.g., Aquamar, 179 F.3d at 1283, 1292–1300 (holding that a foreign state explicitly

waived its immunity where one of its ambassadors wrote a letter purporting to do so after the

complaint was filed); see also Ashraf-Hassan v. Embassy of France in the U.S., 40 F. Supp. 3d 94,

100 (D.D.C. 2014) (noting that the foreign state in that case “may have expressly waived its im-

munity in its initial pleading”). Hence, a foreign state could, consistent with section 1605(a)(1),

waive its immunity after entering into a commercial contract, provided that such a waiver is ex-

plicit. Thus, Plaintiff does not, as Defendants suggest, “seek[ ] to add terms [to] the [Export Com-

mitment Letter]” and Iraqi law governing such efforts is not relevant.

       Ms. Niseaf also asserts that “there could have been no waiver of foreign sovereign immun-

ity nor agreement to the jurisdiction of the courts in the United States, because it would have

violated Iraqi law” that states that “foreigner[s] shall be tried before the courts of Iraq . . . where



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the subject of the adjudication is a contract which has been executed in . . . Iraq.” ECF No. 60-3

at 5 (emphasis omitted). But that argument proves too much: it would mean that there could be

no waiver of sovereign immunity as to Iraqi contracts, which is not a principle even Defendants

have espoused here. In any event, it is not clear how the Iraqi courts’ jurisdiction to try foreigners

has any bearing on whether Iraqi law permits Defendants to waive Iraq’s sovereign immunity from

suit. Plaintiff does not suggest that, had it breached the contract, Defendants could not have sued

it in Iraq; thus, this case simply does not implicate an Iraqi court’s jurisdiction over a foreigner in

a contract dispute.

       In sum, the present factual record is insufficient to find that Defendants have carried their

burden of demonstrating by a preponderance of the evidence that Iraq has not explicitly waived its

sovereign immunity in this case. Rather, the record supports only the following factual findings

at this time: Defendants and Plaintiff executed the Export Commitment Letter in November 1995

and Defendants agreed to ship certain products to Plaintiff to satisfy their debt; Defendants did not

ship those products; following Defendants failure to ship the products, five different senior Iraqi

government officials—the Minister of Industry and Minerals, the President of the Iraqi Governing

Council, the Director General of the Ministry’s Economic Department, and two subsequent Min-

isters of Industry and Minerals—stated, on multiple occasions between June 1997 and the winter

of 2011-2012, that the Export Commitment Letter was valid and that Plaintiff could sue Iraq to

enforce the Letter in any court, including in the United States, and Defendants would neither object

nor have a defense to such suit; at the time those statements were made in the 1990s and 2000s,

Mr. Hassan and Mr. Al-Tekreeti contend that Iraqi custom and practice permitted and recognized

oral waivers of sovereign immunity; Mr. Hassan and Mr. Al-Tekreeti also maintain that during the

1990s and 2000s, the head of the Republic of Iraq and the Ministers of the Republic of Iraq’s



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Ministries had full authority to orally waive sovereign immunity; Mr. Al-Tekreeti, a former Iraqi

government official familiar with the concept of sovereign immunity, remembers discussing the

Export Commitment Letter with Minister Al-Ani in 1997 and recalls that they agreed that Iraq

could be sued anywhere and would not object to such suit; and as of 2015, according to Ms. Niseaf,

Iraqi custom appears to have become that waivers of sovereign immunity must be in writing or be

made in open court, as evidenced by Iraq joining the U.N. Convention in that year.

       “These findings are not conclusive, and they remain ‘subject to change in light of further

developments of the facts.’” Dentons U.S., 410 F. Supp. 3d at 215 (quoting Price, 389 F.3d at

197). Nevertheless, they constitute the undersigned’s findings of fact for the purposes of the pend-

ing motion, based on the record before the Court, and they support Plaintiff’s theory that the Iraqi

officials had the actual authority to orally waive sovereign immunity at the time the statements

were made and did in fact waive sovereign immunity. Defendants have simply failed to provide

sufficient evidence to the contrary. They have not disputed that the operative oral statements were

made, have not disputed that the President of the Iraqi Governing Counsel and various Ministers

of Iraq’s Ministries would have been familiar with the concept of sovereign immunity, have not

disputed that these officials were discussing whether Iraq could be sued by Plaintiff, and most

notably, have offered no evidence suggesting that the Iraqi custom or law in the 1990s and 2000s

required waivers of sovereign immunity to be in writing or were within the exclusive authority of

the Ministry of Justice. And Defendants failed to do so even after Plaintiff pointed out that rather

significant flaw in Ms. Niseaf’s first declaration.

       So, accepting the statements included in Plaintiff’s declarations as true, and finding at this

point in the proceedings that the Iraqi officials had authority to waive sovereign immunity, the

undersigned finds that those statements provide “adequate supporting evidence” of explicit waiver



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of Defendants’ sovereign immunity under section 1605(a)(1). SACE, 243 F. Supp. 3d at 33. The

statements unambiguously permit Plaintiff to sue Defendants in the United States to enforce the

contract and waive any defense or objection to such suit. ECF No. 24-6 at 3, ¶ 7 (“[Plaintiff] ha[s]

the right to sue Iraq anywhere to enforce its rights under the [Export Commitment] Letter, whether

in the Middle East, Europe or the United States.”); id. at 3, ¶ 11 (“[Plaintiff] may sue Iraq and the

Ministry anywhere it wants—including in the . . . United States . . . .”); see ECF No. 24-3 at 3,

¶ 14 (“Plaintiff ha[s] the right to sue Iraq on the Letter, [ ] it ha[s] the right to sue Iraq anywhere

on this obligation[,] and [ ] Iraq would not object to being sued anywhere.”); ECF No. 24-5 at 5,

¶ 26 (“[T]here [is] no limitation in the Letter requiring [Plaintiff] to sue in Iraq. In fact, . . . the

Letter [is] a valid, unconditional obligation and [ ] it could be enforced against Iraq anywhere

. . . ..”); ECF No. 24-6 at 4, ¶ 15 (“[Plaintiff] should sue Iraq and the Ministry in any country

. . . .”). More, they waive any defense or objections Defendants may have to such a lawsuit. See,

e.g., ECF No. 24-6 at 3, ¶ 8 (“Iraq and the Ministry would have no defense to any such lawsuit by

[Plaintiff].”); id. at 4, ¶ 14 (“Iraq would not and could not dispute the lawsuit at all . . . .”). Ac-

cordingly, the undersigned finds that Plaintiff has met the “relatively low bar” of “provid[ing]

some evidence that could convince a factfinder of the jurisdictional fact in question,” Owens, 174

F. Supp. 3d at 276 (emphasis added). Defendants, on the other hand, have failed to carry their

burden of demonstrating “the absence of a factual basis” for finding that they’ explicitly waived

sovereign immunity and had the actual authority to do so.

                       b.      Defendants’ Legal Challenges to Plaintiff’s Allegations
       Defendants’ legal challenges to Plaintiff’s assertion of explicit waiver of sovereign immun-

ity will be considered next. Defendants maintain that, even if Plaintiff’s allegations concerning

the oral statements of senior Iraqi officials are true, they are legally insufficient, under U.S. law,

to bring this case within the FSIA’s explicit waiver exception. Defendants first contend that those

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oral statements should be disregarded because the FSIA requires explicit waivers of sovereign

immunity to be in a contract, or, at minimum, to be in writing and use the words “waiver” or

“immunity.” ECF No. 60-1 at 16–18, 22–25. The argument fails. The text of section 1605(a)(1)

contains no such requirement, and “[s]tatutory construction must begin with the language em-

ployed by Congress and the assumption that the ordinary meaning of that language accurately

expresses the legislative purpose.” Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 175 (2009) (quot-

ing Engine Mfrs. Ass’n v. S. Coast Air Quality Mgmt. Dist., 541 U.S. 246, 252 (2004)). “[W]hen

[a] statute’s language is plain, the sole function of the courts—at least where the disposition re-

quired by the text is not absurd—is to enforce it according to its terms.” Sebelius v. Cloer, 569

U.S. 369, 381 (2013) (second alteration in original) (quoting Hartford Underwriters Ins. Co. v.

Union Planters Bank, N.A., 530 U.S. 1, 6 (2000)). Thus, courts “will not read into [a] statute a

mandatory provision that Congress declined to supply.” Ill. Pub. Telecomms. Ass’n v. FCC, 752

F.3d 1018, 1023 (D.C. Cir. 2014); see also Schindler Elevator Corp. v. United States ex rel. Kirk,

563 U.S. 401, 412 (2011) (“In interpreting a statute, ‘[o]ur inquiry must cease if the statutory

language is unambiguous’ . . . and ‘the statutory scheme is coherent and consistent.’” (first altera-

tion in original) (quoting Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997))). Here, the FSIA’s

plain text contains no express requirement that explicit waivers be in writing or in the parties’

commercial contract. Rather, section 1605(a)(1) states only that a foreign state may “explicitly”

waive its immunity.     28 U.S.C. § 1605(a)(1). “Explicit” means “[c]lear, open, direct” and

“[e]xpressed without ambiguity or vagueness; leaving no doubt.” Explicit, Black’s Law Diction-

ary (11th ed. 2019). So, neither the statute’s language nor the commonly understood meaning of

“explicit” requires a writing for a waiver to be deemed explicit. An oral waiver may be explicit—

or not—as well. Although the absence of a written waiver of sovereign immunity may present



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proof problems for a plaintiff, section 1605(a)(1) does not impose a writing requirement. More,

Defendants have not cited any cases holding that explicit waiver must be in writing; they have only

cited cases that concluded a written, express waiver was sufficient. 9 See ECF No. 60-1 at 24–25.

         Switching gears somewhat, Defendants point to the FSIA’s legislative history to support

their argument that the waiver must be in the contract. They emphasize a passage in the House

Report issued when the FSIA was enacted explaining that, “[w]ith respect to explicit waivers, a

foreign state may renounce its immunity . . . in a contract with a private party.” ECF No. 60-1 at

22–24 (quoting H.R. Rep. 94-1487, at 6617 (1976)). Defendants reliance on this single statement

from the FSIA’s legislative history is unpersuasive. As a preliminary matter, courts do not “al-

low[ ] ambiguous legislative history to muddy clear statutory language.” Milner v. Dep’t of Navy,

562 U.S. 562, 572 (2011). Indeed, it is well-established that “[i]n interpreting a statute, ‘[the

court’s] inquiry must cease if the statutory language is unambiguous’ . . . and ‘the statutory scheme

is coherent and consistent.’” Schindler Elevator, 563 U.S. at 412 (2011) (quoting Robinson, 519

U.S. at 341). Such is the case here. But even assuming that the statute’s plain text is ambiguous

as to whether an explicit waiver must be in a written contract, which it is not, the passage Defend-

ants cite does not do the work they ask of it. Rather, it merely provides one example of explicit

waiver, not a requirement that such waiver must be in a written contract.

         Defendants also point to Argentine Republic, a Supreme Court case finding that a contract

that “contain[ed] no mention of a waiver of immunity to suit” could not constitute a waiver of

sovereign immunity. ECF No. 60-1 at 16 (emphasis omitted) (quoting Argentine Republic, 488




9
 Defendants’ argument that no other case has ever concluded oral statements could constitute explicit waiver is of no
help to them, either. See ECF No. 60-1 at 24–25. The absence of a case could simply mean that no court has had the
opportunity to consider the issue. Tellingly, Defendants are unable to point to a single case where a court considered
whether oral statements were insufficient to establish explicit waiver.


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U.S. at 442–43). But, as noted above, Plaintiff does not argue that the commercial contract in-

cluded the relevant waiver of sovereign immunity, they argue that the oral statements of Iraqi

officials made after the contract was executed waived sovereign immunity, which courts have

found to be allowed under section 1605(a)(1). See, e.g., Aquamar, 179 F.3d at 1283, 1292–1300

(holding that a foreign state explicitly waived its immunity where one of its ambassadors wrote a

letter purporting to do so after the complaint was filed); see also Ashraf-Hassan, 40 F. Supp. 3d at

100 (noting that the foreign state in that case “may have expressly waived its immunity in its initial

pleading”). Further, this is not a case where a foreign state has remained silent on the issue of

waiver, as was the case in Argentine Republic. See 488 U.S. at 442–43 (declining to find waiver

under 1605(a)(1) based only on various international agreements signed by foreign state prior to

enactment of the FSIA that did not mention waiver or immunity); see also World Wide Minerals,

296 F.3d at 1162–63 (finding that there was insufficient evidence of explicit waiver in two of the

parties’ agreements due to the absence of any language indicating waiver, which “create[d] real

ambiguity” regarding the foreign state’s intent as to those agreements given that the foreign state

had included waiver provisions in two other agreements related to the same transaction); de Sousa

v. Embassy of Republic of Angola, 229 F. Supp. 3d 23, 31 (D.D.C. 2017) (concluding that a choice-

of-law provision mandating application of Virginia law “without regard to the jurisdiction in

[which] any action . . . may be instituted” was “irrelevant” to the analysis of whether a foreign

state had explicitly waived its property immunity). Rather, here, Plaintiff has provided evidence

of statements of senior Iraqi officials asserting that it could sue the foreign state anywhere.

       Defendants next argue that even if the FSIA does not require that the waiver be in writing,

to be explicit under section 1605(a)(1), an oral waiver must use the words “waiver” or “immunity.”

ECF No. 60-1 at 18–20. To be sure, courts have held that a foreign state explicitly waives



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sovereign immunity when it invokes precise language doing so. See World Wide Minerals, 296

F.3d at 1162 & n.13 (finding explicit waiver where the foreign state stated that it “irrevocably

agrees not to claim and hereby irrevocably waives . . . immunity for [itself] . . . with the intent . . .

that the foregoing waiver of immunity shall have irrevocable effect for the purposes of the [FSIA]

in any legal action or proceedings to which such Act applies” (first and fifth alterations in original)

(quoting the parties’ agreement)); Libra Bank Ltd. v. Banco Nacional de Costa Rica, S.A., 676

F.2d 47, 49–50 (2d Cir. 1982) (finding explicit waiver where a foreign state claimed that one of

its entities “can sue and be sued in its own name and does not have any right of immunity from

suit with respect to the [entity’s] obligations” and that it “irrevocably and unconditionally waives

any right or immunity from legal proceedings including suit judgment and execution on grounds

of sovereignty which it or its property may now or hereafter enjoy” (quoting parties’ agreement)).

But the FSIA does not require magic words like “waiver” or “immunity” to effect explicit waiver;

it requires only that such a waiver be “[c]lear, open, direct” and “[e]xpressed without ambiguity

or vagueness; leaving no doubt.” Explicit, Black’s Law Dictionary (11th ed. 2019); see 28 U.S.C.

§ 1605(a)(1). Courts have rejected the argument that specific words are required to effect waiver.

See Libra Bank Ltd., 676 F.2d at 49 (rejecting argument that explicit waiver requires “recitation of

[specific] words” and explaining that the purpose of an explicit waiver requirement “is to preclude

inadvertent, implied, or constructive waiver in cases where the intent of the foreign state is equiv-

ocal or ambiguous”). Accordingly, the fact that the statements Plaintiff relies on did not include

the words “waiver” or “immunity” is not fatal. Contrary to Defendants’ claim that the Iraqi offi-

cials’ statements “amount to nothing more than an acknowledgment that there was no venue pro-

vision” in the Export Commitment Letter, the undersigned finds that those statements—that De-

fendants can be sued anywhere, that Defendants would have no defense to any such lawsuit, and



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that Defendants would not object to being sued anywhere—clearly and unambiguously waives

Defendants’ defense of sovereign immunity from suit anywhere, including in the United States.

These statements do not, as Defendants argue, “have to be parsed to try to discern the intention of

the speaker.” See ECF No. 67 at 14. Instead, the speakers’ intentions are clear—Defendants may

be sued anywhere, and Iraq would have no defense or objection to such suit, regardless of the

country in which suit is brought.

         Defendants’ third legal argument relies on the decision of a Jordanian appellate court which

found that Defendants did not waive immunity from an enforcement proceeding in Jordan seeking

to execute the judgment against certain Iraqi property and monies in Jordan. ECF Nos. 60-1 at

31–33, 60-4 at 6–7; ECF No. 66 at 35–36. Defendants contend that principles of international

comity weigh in favor of this Court deferring to that decision with respect to whether sovereign

immunity should be deemed waived here. 10 Defendants’ argument should be rejected for two

reasons. First, the declarations of Ibrahim Al-Qatawneh, on which Defendants rely to provide

details about the Jordanian enforcement proceedings, do not comply with 28 U.S.C. § 1746. Sec-

tion 1746 is relatively straightforward. For declarations executed outside of the United States, it

requires that they include the following language, or something substantially similar: “I declare

(or certify, verify, or state) under penalty of perjury under the laws of the United States of Amer-

ica that the foregoing is true and correct. Executed on (date). (Signature).” 28 U.S.C. § 1728. Both



10
   In their motion to dismiss, Defendants also assert that the ruling of the Jordanian court should bar Plaintiff from
arguing in this action that there was an explicit waiver of sovereign immunity “[p]ursuant to the doctrines of estoppel
or res judicata (since the parties are the same).” ECF No. 60-1 at 32. Defendants cite nothing to support this throw-
away argument that foreign proceedings addressing a different issue should bind either party in this Court. Accord-
ingly, the undersigned declines to consider it. See, e.g., Al-Tamimi v. Adelson, 916 F.3d 1, 6 (D.C. Cir. 2019) (“Men-
tioning an argument ‘in the most skeletal way, leaving the court to do counsel’s work, create the ossature for the
argument, and put flesh on its bones’ is tantamount to failing to raise it.” (quoting Schneider v. Kissinger, 412 F.3d
190, 200 n.1 (D.C. Cir. 2005))); CTS Corp. v. EPA, 759 F.3d 52, 64 (D.C. Cir. 2014) (finding an argument made in
conclusory fashion forfeited).


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of Mr. Qatawneh’s declarations appear to have been executed outside of the United States, 11 but

say only “I hereby declare that this is a true testimony” (ECF No. 60-4 at 2) and “I hereby declare

that everything I have stated is true, accurate, consistent with what happened, and factual, in my

capacity as an attorney and a person with knowledge thereof, under penalty of liability, if proven

otherwise” (ECF No. 67-1 at 4). Neither of these statements conforms to what section 1746 re-

quires as they do not include an oath “under penalty of perjury under the laws of the United States

of America,” or language substantially similar to that effect. Accordingly, they should be disre-

garded. See In re Veiga, 746 F. Supp. 2d 27, 37 (D.D.C. 2010) (finding that a party could not rely

on a declaration that stated “I solemnly declare, on my honor and conscience, that what I have

stated is the truth to the best of my knowledge” because it did not substantially comply with section

1746); Sabra v. Pompeo, 453 F. Supp. 3d 291, 322 & n.11 (D.D.C. 2020) (finding that a declaration

did not meet the section 1746 standard where it stated “[I] declare[ ] under penalty of perjury that

the foregoing is true and correct based on [ ] personal knowledge” but did not include language

substantially similar to “under the laws of the United States); In re Korean Air Lines Co. Antitrust

Litigation, Nos. MDL 07-1891, CV 07-5107, 2013 WL 12216516, at *2 (C.D. Cal. Dec. 6, 2013)

(striking declarations executed outside of the United States that did not “include[ ] any language

specifying the country [they] [were] executed in or the laws under which [they] [were] executed”

and thus failed to comply with section 1746).

        Second, even if the Court were to consider Defendants’ declarations, nothing they contain

concerning the proceedings in Jordan is persuasive on the waiver issue before this Court. That a



11
   Mr. Qatawneh’s declaration filed with Defendants’ motion to dismiss includes “Amman/Jordan” after the date and
above his signature. ECF No. 60-4 at 2. Mr. Qatawneh’s reply declaration does not state where it was executed, but
it is written on his firm’s letterhead which identifies the locations of Mr. Qatawneh’s office as in Amman. ECF No.
67-1 at 2–4. Further, Defendants do not contend it was executed in the United States. See ECF No. 69 at 6 (arguing
only that the declaration includes language substantially similar to section 1746).


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Jordanian court found that Defendants did not waive sovereign immunity as to an enforcement

action seeking to attach Iraqi property and monies in Jordan does not mean that the same conclu-

sion is warranted here where Plaintiff seeks recognition of a foreign judgment pursuant to the

FSIA. Indeed, as Defendants themselves explained in their first motion to dismiss, “the question

whether ‘. . . there ha[s] been a waiver of sovereign immunity in [the foreign tribunal] [is] different

from ‘the question before this Court [which] is the extent of its own jurisdiction to entertain [the

plaintiff’s] action under federal law, and the Court has a duty to make its own independent factual

determinations in order to ascertain its authority under the FSIA.’” ECF No. 28-1 at 24 (fifth

alteration in original) (quoting SACE, 243 F. Supp. 3d at 43). Agreed. As the court observed in

SACE, “[a]lthough there [may be] no dispute that [foreign courts] are competent to adjudicate the

issues before them and are thus entitled to respect,” that decision should not control whether this

Court has subject-matter jurisdiction over Defendants under the FSIA. SACE, 243 F. Supp. 3d at

43.

       Defendants’ final legal challenge is that even if the Court were to find that Defendants

explicitly waived sovereign immunity with respect to the Export Commitment Letter, an additional

waiver of immunity is necessary because Plaintiff now seeks to enforce a judgment, rather than

the Letter, against Defendants. ECF No. 67 at 15 & n.5. Defendants’ argument on this point

evolved between its motion to dismiss and it reply in further support of that motion; however, both

versions of the argument fail. First, Defendants suggest in their motion to dismiss that the state-

ments on which Plaintiff relies should be narrowly construed to apply only as a waiver of immunity

from suit seeking to enforce the Export Commitment Letter. ECF No. 60-1 at 33. But the state-

ments made by the Iraqi officials more broadly waive sovereign immunity with respect to suits

seeking to enforce Plaintiff’s rights under the Letter (see ECF No. 24-6, ¶ 7) and suits seeking to



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collect the debt owed to Plaintiff under the Letter (id., ¶ 11). The Jordanian judgment is a court

order enforcing Plaintiff’s rights under the Letter and setting the monetary amount owed to Plain-

tiff under the Letter. Thus, proceedings seeking recognition of that judgment are fairly considered

suits seeking to enforce Plaintiff’s rights under the Letter and collect the debt owed to Plaintiff

under the Letter; that is, the proceedings for which Defendants explicitly waived sovereign im-

munity. See, e.g., Comm’ns Import Export S.A. v. Republic of the Congo, 757 F.3d 321, 324–25

(D.C. Cir. 2014) (noting that the court had jurisdiction over an action seeking recognition of a

foreign judgment where the foreign state waived sovereign immunity from legal proceedings re-

lated to the parties’ contract upon which the foreign judgment was based); Nat’l Union Fire Ins.

Co. v. People’s Republic of the Congo, 729 F. Supp. 936, 940 (S.D.N.Y. 1989) (same); cf. Cont’l

Transfer Tech. Ltd. v. Fed. Gov’t of Nigeria, 697 F. Supp. 2d 46, 56 (D.D.C. 2010) (finding that

court had subject matter jurisdiction over suit for confirmation of a foreign arbitral award and for

recognition of a foreign judgment enforcing the arbitral award pursuant to the FSIA’s jurisdictional

immunity exception for actions brought to confirm an arbitral award).

        In their reply brief, Defendants switch gears and argue that Plaintiff must show that De-

fendants waived sovereign immunity under section 1610 of the FSIA. ECF No. 67 at 15–17 &

n.5. In support, Defendants point to the Restatement (Fourth) of the Foreign Relations Law of the

United States § 453(4), which states that “[a] waiver of immunity from the jurisdiction of a court

. . . to adjudicate a dispute does not constitute a waiver of immunity with respect to enforcement

of the resulting judgment against the foreign state” and point to sections 1605(a)(1) and 1610(a)(1)

of the FSIA, which Defendants’ explain draw a distinction between jurisdictional immunity and

“execution” immunity, 12 respectively. Id. at 15 & n.5. Defendants misunderstand the two types


12
  Defendants refer to “execution” immunity in their argument and cite section 1610 of the FSIA. ECF No. 67 at n.5.
Section 1610 governs “exceptions to immunity from attachment or execution,” which courts generally refer to as

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of immunity granted by the FSIA. The Supreme Court explained in Rubin v. Islamic Republic of

Iran, that the FSIA grants foreign states two types of immunity: (1) a foreign state has “immunity

from suit in the United States (called jurisdictional immunity)” and (2) a foreign states’ property

has “immunity from attachment and execution in satisfaction of judgments against [a foreign

state].” __ U.S. __, __, 138 S. Ct. 816, 820 (2018) (emphasis added); see 28 U.S.C. §§ 1604 (gov-

erning jurisdictional immunity), 1609 (governing property immunity). So, section 1609 governs

the “[i]mmunity . . . of property of a foreign state,” Rubin, __ U.S. at __, 138 S. Ct. at 824, and

provides that “the property in the United States of a foreign state shall be immune from attachment

arrest and execution except as provided in sections 1610 and 1611,” 28 U.S.C. § 1609. Sections

1610 and 1611 provide certain exceptions to section 1609, where property will not be immune

from attachment. See id. §§ 1610–1611. The Restatement section that Defendants cite merely

explains this distinction between jurisdictional and property immunity. See Restatement (Fourth)

of Foreign Relations Law § 453, reporter’s noteote 12 (Am. Law. Inst. 2018) (explaining that

subsection (4) was added “to clarify the distinction between waivers of immunity from jurisdiction

and waivers of immunity from execution); id., cmt. d (explaining that “[w]aivers of immunity from

adjudicative jurisdiction are distinct from waivers of immunity from attachment and execution. A

waiver of immunity from suit is not itself a waiver of immunity from attachment or execution”

(emphasis added); compare, e.g., 28 U.S.C. § 1605(a)(6) (governing exception to jurisdictional

immunity in proceedings “to confirm an [arbitral] award”), with 28 U.S.C. § 1610(a)(6) (governing

exception to property immunity in proceedings seeking “attachment in aid of execution . . . [of] an

order confirming an arbitral award).



“property immunity.” See Rubin, 138 S. Ct. at 820. To limit confusion, the undersigned will refer to this immunity as
property immunity.


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       Where, as here, Plaintiff does not seek to attach Defendants’ property in the United

States—or at least not yet—sections 1609 through 1611 of the FSIA are not operative; there is no

reason that Plaintiff must show that Defendants have waived property immunity where Defend-

ants’ property is not implicated. See, e.g., Rubin, __ U.S. at __, 138 S. Ct. at 821 (considering

whether one of the exceptions to property immunity provided by section 1610 applied in case

where “petitioners brought [an] action . . . to attach and execute against certain Iranian assets lo-

cated in the United States in satisfaction of their judgment [against Iran]”); Cont’l Transfert Tech.,

Ltd. v. Fed. Gov’t of Nigeria, No. 08-2026, 2019 WL 3562069 (D.D.C. Aug. 6, 2019) (considering

whether an exception to property immunity under section 1610 applied where plaintiff filed a mo-

tion for a writ of attachment seeking to attach a bank account registered to the Central Bank of

Nigeria); Hercaire Int’l, Inc. v. Argentina, 821 F.2d 559, 561, 563 (11th Cir. 1987) (considering

exceptions to property immunity under section 1610 in appeal from district court order permitting

the plaintiff to seize property owned by Argentinian airline in satisfaction of a judgment against

Argentina); Walker Int’l Holdings, Ltd. v. Republic of Congo, 395 F.3d 229, 232–38 (5th Cir.

2004) (considering exceptions to property immunity under section 1610 in garnishment action).

Notably, the Jordanian proceedings that Defendants point to in order to show an appellate court in

Jordan concluded that Defendants had not waived sovereign immunity involved a suit seeking to

attach Iraqi property located in Jordan. ECF No. 60-4 at 6–7 (explaining that court order appealed

by Defendants in Jordan authorized seizure of Iraqi property and monies located in Jordan). So, it

is sufficient for this case that Plaintiff has alleged that Defendants waived immunity to suit with

respect to the Export Commitment Letter.




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         Accordingly, the undersigned finds that Defendants have not met their burden of persua-

sion by showing that Plaintiff’s allegations, accepted as true, fail to provide a legally sufficient

basis for finding explicit waiver of sovereign immunity. 13

                  2.        Commercial Activities Exception

         In the event this Court finds that Defendants have not explicitly waived their sovereign

immunity, the undersigned will also address the parties’ arguments regarding the FSIA’s commer-

cial activities exception. Under that exception, even if a foreign state has not waived its immunity,

a district court has subject-matter jurisdiction over any lawsuit

         based upon a commercial activity carried on in the United States by the foreign
         state; or upon an act performed in the United States in connection with a commer-
         cial activity of the foreign state elsewhere; or upon an act outside the territory of
         the United States in connection with a commercial activity of the foreign state else-
         where and that act causes a direct effect in the United States.

28 U.S.C. § 1605(a)(2). Only the third clause of this exception—when the lawsuit is “based upon

. . . an act outside the territory of the United States in connection with a commercial activity of the

foreign state elsewhere and that act causes a direct effect in the United States,” id.—is at issue

here. ECF No. 66 at 38.

         Defendants argue that because Plaintiff’s lawsuit is “based upon” only the Jordanian judg-

ment, which is not a commercial activity, section 1605(a)(2) is inapplicable. ECF No. 60-1 at 34.

Plaintiff does not dispute that the Jordanian judgment is not an act to which section 1605(a)(2)

applies. See ECF No. 66 at 38–40. Instead, Plaintiff contends that its lawsuit is “based upon”

Defendants’ failure to ship the product under the agreement, which constitutes a commercial act


13
  Defendants, however, should be permitted to raise the issue of explicit waiver again in future pretrial proceedings
when the record is more developed because, when faced with a foreign state’s invocation of immunity, “more than
the usual is required of trial courts in making pretrial factual and legal determinations. In such circumstances, it is
particularly important that the court ‘satisfy itself of its authority to hear the case’ before trial.’” Foremost-McKesson,
Inc. v. Islamic Rep. of Iran, 905 F.2d 438, 449 (D.C. Cir. 1990) (internal citation omitted) (quoting Prakash v. Am.
Univ., 727 F.2d 1174, 1179 (D.C. Cir. 1984)).


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for purposes of section 1605(a)(2). See id. Resolving this issue thus requires deciding whether,

under the third clause of section 1605(a)(2), a lawsuit to recognize a foreign judgment is “based

upon” only the judgment or also upon a foreign state’s commercial conduct from which the judg-

ment arises. Notably, the undersigned’s previous Report and Recommendation addressed this very

same argument and the parties have presented nothing new in their second round of briefing that

would warrant a different result.

       The Supreme Court has stated that, for purposes of the first clause of the commercial ac-

tivities exception, which is not at issue here, a lawsuit is “‘based upon’ . . . those elements of a

claim that, if proven, would entitle a plaintiff to relief under [its] theory of the case.” Nelson, 507

U.S. at 357; see also OBB Personenverkehr AG v. Sachs, 577 U.S. 27, 35 (2015) (affirming Nel-

son’s definition of “based upon” for purposes of the first clause). The D.C. Circuit has extended

Nelson’s definition to the second clause of section 1605(a)(2)—which is also not at issue here—

noting that the “virtually identical statutory text and structure of clauses one and two lead us to

conclude that ‘based upon’ means the same thing in both clauses.” Odhiambo v. Republic of Kenya,

764 F.3d 31, 37 (D.C. Cir. 2014). Thus, the court held that “a suit against a foreign sovereign may

proceed under clause two only if the ‘act performed in the United States in connection with a

commercial activity of the foreign state elsewhere’ establishes a fact without which the plaintiff

will lose.” Id. at 38 (quoting 28 U.S.C. § 1605(a)(2)) (citing Nelson, 507 U.S. at 357). For the

third clause, however, neither the Supreme Court nor the D.C. Circuit has articulated a definition

of “based upon.”

       Perhaps as a result of this gap, courts are split on whether, for purposes of the third clause,

an action to enforce a foreign judgment is “based upon” only the judgment or also upon a foreign

state’s commercial conduct from which the judgment arises. On the one hand, the Second Circuit,



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relying on a panel decision predating Nelson, has held that courts should “look at the conduct

underlying the . . . judgment[ ].” Transatlantic Shiffahrtskontor GmbH v. Shanghai Foreign Trade

Corp., 204 F.3d 384, 389 (2d Cir. 2000) (citing Int’l Hous. Ltd. v. Rafidain Bank Iraq, 893 F.2d 8,

11–12 (2d Cir. 1989)). On the other hand, this Court recently extended Nelson to the third clause

of section 1605(a)(2) and held that such an action is “based upon” only the judgment, not a foreign

state’s commercial conduct giving rise to the judgment. Valambhia v. United Rep. of Tanzania,

No. 18-cv-370, 2019 WL 1440198, at *3–4 (D.D.C. Mar. 31, 2019), aff’d, 964 F.3d 1135 (D.C.

Cir. 2020), cert. denied, __ S. Ct. __, 2021 WL 1520802 (2021). The Valambhia Court reasoned

that the elements of a foreign-judgment recognition claim are as follows: (1) the foreign court had

personal and subject-matter jurisdiction over the action; (2) the foreign court had due process safe-

guards; and (3) the foreign court issued an enforceable final judgment. Id. at *3 (citing D.C. Code

§§ 15-363(a), 15-364(b)). Thus, the Court held that, because the “underlying commercial conduct

. . . is not an ‘element[ ] of a claim’ for recognition of a foreign judgment or ‘a fact without which

the plaintiff will lose,’” the commercial activities exception is inapplicable to such a claim. Va-

lambhia, 2019 WL 1440198, at *3–4 (second alteration in original) (citations omitted) (first quot-

ing Nelson, 507 U.S. at 357, then quoting Odhiambo, 764 F.3d at 38). The Court acknowledged

that its holding “effectively makes dead letter of an action to recognize a foreign court judgment

brought against a foreign sovereign under the commercial activities exception” because a court

judgment would never be deemed an act taken in connection with commercial activity under the

third clause of section 1605(a)(2), but it maintained that “a faithful interpretation of Odhiambo and

Nelson” necessitated this outcome. Valambhia, 2019 WL 1440198, at *4. 14 On appeal, the D.C.



14
  The Court also noted that, in Transatlantic Shiffahrtskontor, the Second Circuit called into question its approach as
being “in some tension with a literal reading of the definition of ‘based upon’ used by the Supreme Court in Nelson.”
Valambhia, 2019 WL 1440198, at *4 (quoting Transatlantic Shiffahrtskontor, 204 F.3d at 389 n.4).

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Circuit affirmed the Court’s decision; however, it did so on other grounds, concluding that the

“direct effects” alleged by the plaintiff were too distant because they involved a single payment

into a United States bank account in the 1980s and the mere fact that the plaintiffs were United

States citizens and resided in the United States. Valahmbhia v. Tanzania, 964 F.3d at 1140–43.

Considering Judge Chutkan’s broader holding, the Circuit concluded that “[it] need not decide

whether, as a categorical matter, ‘any suit brought on a foreign judgment—rather than on the con-

duct that underlies that judgment—is too distant’ to satisfy this [commercial activity] exception.”

Id. at 1144 (quoting Transatlantic, 204 F.3d at 390).

        Nevertheless, Judge Chutkan’s reasoning in Valambhia is persuasive, and this Court should

find that, for purposes of all three clauses of the commercial activities exception, an action to

enforce a foreign judgment is “based upon” only the judgment, not a foreign state’s commercial

conduct giving rise to the judgment. Importantly, all three clauses of this exception have “virtually

identical statutory text and structure.” Odhiambo, 764 F.3d at 37; see 28 U.S.C. § 1605(a)(2).

And “there is a presumption that a given term is used to mean the same thing throughout a statute,

a presumption surely at its most vigorous when a term is repeated within a given sentence.” Mo-

hamad v. Palestinian Auth., 566 U.S. 449, 456 (2012) (quoting Brown v. Gardner, 513 U.S. 115,

118 (1994)). Thus, the Nelson definition should be deemed to apply to the third clause of sec-

tion 1605(a)(2) as well. The Supreme Court clarified in that case that a lawsuit is “‘based upon’

. . . those elements of a claim that, if proven, would entitle a plaintiff to relief under [its] theory of

the case.” Nelson, 507 U.S. at 357. Because the elements of a foreign-judgment recognition claim

relate only to the judgment and not a foreign state’s commercial conduct, such a lawsuit, for pur-

poses of the commercial activity exception, is “based upon” only the judgment. See D.C. Code




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§§ 15-363(a), 15-364(b); cf. Valambhia, 2019 WL 1440198, at *3–4. Thus, the commercial activ-

ities exception is inapplicable here. 15

         Alternatively, if this Court were to find that application of the commercial activities excep-

tion requires inquiring into Defendants’ commercial conduct giving rise to the Jordanian judgment,

then there would be an “act taken in connection with [Defendants’] commercial activity”—namely,

Defendants’ failure to ship the product. 28 U.S.C. § 1605(a)(2). This Court would then have to

determine whether Defendants’ actions had a “direct effect” in the United States. Id. For the

reasons explained below, Plaintiff’s allegations sufficiently establish a direct effect such that the

commercial activities exception would apply. As with the “based upon” discussion above, the

parties’ arguments regarding “direct effects” have not substantially changed in this second round

of briefing; so, much of the following analysis remains the same from the undersigned’s January

2020 Report and Recommendation.

         The D.C. Circuit’s cases “draw a very clear line: For purposes of clause three of the FSIA

commercial activity exception, breaching a contract that establishes or necessarily contemplates

the United States as a place of performance causes a direct effect in the United States, while

breaching a contract that does not establish or necessarily contemplate the United States as a place

of performance does not cause a direct effect in the United States.” Odhiambo, 764 F.3d at 40.

Accordingly, courts have found direct effect where the parties knew at the time of contracting that

at least some contractual performance would occur in the United States. For example, in de Csepel



15
   Plaintiff argues that this interpretation of the commercial activities exception “would render the third clause of the
FSIA meaningless and the outcome, absurd.” ECF No. 66 at 40. Hardly. For Plaintiff’s concern to be warranted, the
commercial activity exception would have to be applicable only to suits for recognition of foreign money judgments,
which is not the case. So, even if, as Judge Chutkan recognized, the Valambhia decision “effectively makes dead
letter of an action to recognize a foreign court judgment . . . under the commercial activities exception” the exception
will hardly be “rendered meaningless” given that it is still applicable to any other lawsuit where the claim is based
upon a foreign state’s commercial activities conducted outside of the United States, but which have a direct effect in
the United States.

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v. Republic of Hungary, the D.C. Circuit held that, where the plaintiffs alleged that the defendant

breached a promise to return artwork to a family it knew to be residing in the United States at the

time of contracting, the plaintiffs had provided sufficient evidence of direct effect to survive a

motion to dismiss. 714 F.3d at 600–01. Similarly, in Cruise Connections Charter Mgmt. 1, LP v.

Att’y Gen. of Canada, the D.C. Circuit determined that the plaintiff had alleged enough facts to

withstand a motion to dismiss where the agreement in question obligated the plaintiff to subcon-

tract with U.S.-based companies, and the defendant breached the agreement while the plaintiff was

negotiating with those companies. 600 F.3d 661, 662, 663–66 (D.C. Cir. 2010). The court further

held that “[n]othing in the FSIA requires that the ‘direct effect in the United States’ harm the

plaintiff.” Id. at 666 (quoting 28 U.S.C. § 1605(a)(2)).

       By contrast, the D.C. Circuit and this Court have found no direct effect where at least one

of the parties was not aware at the time of contracting that any contractual performance would

occur in the United States. For example, in Odhiambo, the D.C. Circuit found no direct effect

where a foreign state failed to pay the plaintiff a promised reward in the United States because the

plaintiff moved to the United States after accepting the offer, which was not contemplated at the

time of acceptance. 764 F.3d at 33, 40–41. Similarly, in Agrocomplect, AD v. Republic of Iraq,

this Court held that there was no direct effect because “[t]he decision to use American sub-con-

tractors and American supplies was the plaintiff’s decision, and the plaintiff [did] not allege that

its decision was mandated by the Contract or expected based on the customary practices of the

parties.” 524 F. Supp. 2d 16, 32 (D.D.C. 2007).

       Here, Plaintiff has alleged sufficient facts showing that the parties contemplated perfor-

mance in the United States when they entered into the agreement and has thus met its initial burden

of production. According to Plaintiff, under the agreement, Defendants would settle their debt by



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shipping the product so that Plaintiff could sell it to a U.S. buyer. See ECF No. 24-3 at 2–3, ¶ 5

(“Iraq would export 450,000 tons of sulfur and 100,000 tons of urea . . . , which would then be

transited through the port of Aqaba, Jordan to a United States buyer, the purchase proceeds of

which would belong to [Plaintiff] to satisfy the Commercial Debt . . . .”); ECF No. 24-4 at 2–3, ¶ 5

(same). Plaintiff’s alleged actions shortly after entering into the agreement corroborate its claim

that the sale to a U.S. buyer was an essential component of the settlement: Abdel Nassif, then the

Commercial Manager of Plaintiff, contacted the U.S. Embassy in Jordan and informed it of the

agreement in order to obtain a list of potential U.S. buyers, and after the Embassy provided him

such a list, he identified a New York company that offered the “best price” for the product. ECF

No. 24-4 at 2, ¶ 3; id. at 3, ¶¶ 7–11. Pursuant to its negotiations with that company, Plaintiff,

through Abdel Nassif, arranged for insurance, inspection services, letters of credit, and other re-

quirements to prepare the product’s shipment to the United States. Id. at 3–4, ¶¶ 11–15; see ECF

No. 24-5 at 3–4, ¶¶ 7–15. When Defendants failed to ship the product, Plaintiff’s deal with the

New York company collapsed. ECF No. 24-4 at 4, ¶¶ 16–17; ECF No. 24-5 at 4, ¶¶ 16–18. More-

over, Plaintiff claims that Defendants knew at the time of contracting that Plaintiff would ship the

product to a U.S buyer and that the only way Defendants’ debt would be satisfied was through

such a sale in the United States. ECF No. 66 at 41. Accordingly, because Defendants “terminated

the contract,” performance that was contemplated in the United States and otherwise would have

been rendered there “was not forthcoming,” and thus Defendants’ commercial activities had a di-

rect effect in the United States. Cruise Connections, 600 F.3d at 665 (quoting Republic of Argen-

tina v. Weltover, 504 U.S. 607, 619 (1992)).

       The burden then shifts to Defendants to rebut Plaintiff’s allegations by a preponderance of

the evidence and show that there was no direct effect on the United States. Agudas Chasidei, 528



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F.3d at 940. With respect to Plaintiff’s factual allegations, Defendants do not dispute that they

knew at the time of contracting that Plaintiff would ship the product to a U.S buyer, that the only

way Defendants’ debt would be satisfied was through such a sale, or that, soon after entering into

the agreement, Plaintiff reached a deal with a New York company to sell the expected product—

allegations that satisfy Plaintiff’s burden of production to show that the agreement contemplated

performance in the United States. See ECF No. 60-1 at 39–41; ECF No. 67 at 25–27. Rather,

Defendants’ factual challenge is that “there is nothing in the record to support that Plaintiff’s in-

tended sale to the U.S. buyer was actually to result in delivery “in the United States” and that

“Plaintiff alleges no more than that a U.S. company or U.S. citizen is the party being directly

affected.” ECF No. 67 at 27. Not so. Plaintiff’s declaration states in multiple places that the

product would be shipped to New York. ECF No. 24-4 ¶ 10 (when Plaintiff sought bids from

various United States companies, he stated that “the Product would be delivered to any U.S. port”);

¶ 14 (explaining that “the [p]roduct . . . would transit through Aqaba to New York); ¶ 15 (discussing

transit of the product from Aqaba to New York). Defendants have therefore failed to rebut the

factual allegations in Plaintiff’s complaint by a preponderance of the evidence.

        Defendants also raise legal challenges to argue that the Plaintiff’s allegations, accepted as

true, cannot provide a basis for jurisdiction under the commercial activities exception. Defendants

argue that in order to find a direct effect in the United States, the “[p]erformance due in the United

States must be the contractual performance of the foreign state[,]” not the plaintiff. ECF No. 60-

1 at 35–36 (emphasis added). Thus, “[t]he question is not whether the parties generally envisioned

that one of them may resell the Materials in the United States—it is what [ ] the foreign state [was]

contractually obligated to do[.]” 16 ECF No. 60-1 at 39–40. Defendants further argue that, to


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  Defendants also suggest that because the Jordanian judgment concluded that the contract required Defendants to
perform in Jordan, then comity and res judicata require this Court to find the same. ECF No. 67 at 26. This argument

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constitute an effective waiver of sovereign immunity under the commercial activities exception,

the Export Commitment Letter had to designate the United States as the place of performance.

ECF No. 60-1 at 36–38. In making these arguments, Defendants misinterpret this Circuit’s cases

applying the commercial activities exception.

         First, Defendants’ contention that the foreign state must be the entity obligated to perform

in the United States for its acts or omissions to constitute a “direct effect” is incorrect. See ECF

No. 60-1 at 35. No case Defendants cite suggests such a restrictive definition of “direct effect.”

Defendants point to Weltover to support their argument, but the fact that the action in the United

States in that case was a contractual obligation of the foreign state was sufficient, but not required,

for satisfying the commercial activities exception. See generally Weltover, 504 U.S. at 618–19.

Rather, in Cruise Connections, the D.C. Circuit explained that “[t]he FSIA . . . requires only that

[the] effect be ‘direct,’ not that the foreign sovereign agree that the effect would occur,” 17 600 F.3d

at 665, and in Valahmbia, the Circuit explained that “direct effect” means one that “follows as an

immediate consequence of the defendant’s activity.” 964 F.3d at 1140 (quoting Weltover, 504

U.S. at 618). Neither case stands for the proposition that the foreign state must be the entity obli-

gated to perform in the United States. The D.C. Circuit’s decision in EIG Energy Fund XIV v.

Petroleo Brasileiro, 894 F.3d 339 (D.C. Cir. 2018) is instructive on this issue. In that case,



is irrelevant. As discussed above, it does not matter what Defendant was contractually obligated to do because, ulti-
mately, the parties’ contract necessarily contemplated performance in the United States. That is all that the commercial
activity exception requires. A holding here that Defendants’ breach had a direct effect on the United States does not
disrespect or contradict the decision of the Jordanian court.

17
   Defendant suggests that Cruise Connections is distinguishable because the Court “relied on” the fact that “the [for-
eign state defendant] contracted with a U.S. citizen, . . . the contract [ ] required the cruise ships . . . to come from
specific [U.S.-based] cruise lines . . . and all efforts to negotiate the charter party agreements occurred in the United
States” to conclude that the breach of contract in that case had a direct effect on the United States. ECF No. 60-1 at
42–43. But the Circuit listed those factors when it distinguished the case from one where it found no direct effect. Id.
at 665. The Circuit did not, as Defendants suggest, find that those factors were required in every case in order to find
a direct effect.


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Petrobras, a state-owned oil company in Brazil, discovered significant amounts of underseas oil

off the coast of Brazil and formed a foreign-investment venture, called Sete Brasil Participações,

S.A. (to simplify, “Sete”), to extract the oil deposits. Id. at 342. In an effort to finance its venture,

Petrobras, through Sete, targeted U.S. investors, including the plaintiff in the case, EIG Energy.

Id. EIG Energy invested over $200 million in the project. Id. Subsequently, a corruption and

fraud investigation involving Petrobras came to light, causing “skittish lenders” to withdraw their

support from the project, and making it impossible for the project to proceed. Id. at 343. As a

result, EIG was left with worthless shares when Sete declared bankruptcy. Id. EIG Energy sued,

arguing in relevant part, that the commercial activities exception provided a basis for the district

court’s subject-matter jurisdiction over state-owned Petrobras. Id. The D.C. Circuit agreed. First,

the Circuit found that “EIG [had] made a prima facie case for jurisdiction” where “[Petrobras’s]

misrepresentations about [the ongoing fraud at Petrobras and at Sete] cause[d] [a] direct effect in

[the] United States [because] [Petrobras] ‘contemplated investment by United States persons’ and

‘at lease some investors . . . suffered an economic loss in [the United States] as a result of those

misrepresentations.’” Id. at 345 (ellipses in original) (quoting Atlantica Holdings, Inc. v. Sover-

eign Wealth Fund Samruk-Kazyna JSC, 813 F.3d 98, 110 (2d Cir. 2016)). So, “[t]he burden

[shifted to] Petrobras to establish an affirmative defense to jurisdiction.” Id. Petrobras argued that

their misrepresentations did not cause EIG Energy’s injury because an intervening event—“third-

party lenders’ decision not to lend to Sete—‘broke the chain of causation’” and thus EIG Energy’s

injury was not a direct effect of Petrobras’s alleged fraud. Id. at 345 (quoting appellant’s brief).

The D.C. Circuit rejected that argument, concluding that it “effectively propose[d] a highly restric-

tive causation requirement under which contributing factors readily and predictably caused by

[Petrobras’s] same act would preclude jurisdiction.” Id. at 346. The Circuit explained that “the



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lenders withdrew for the same reason that EIG’s investment became worthless: Petrobras’s alleged

fraud. . . . The lenders’ withdrawal and EIG’s tanking investment are, in other words, two ‘effects’

with the same cause.” Id. at 346.

       So too here. Plaintiff’s inability to deliver the product to the U.S. buyer, and the effect on

the U.S.—that is, the U.S. buyer not receiving the product in New York—are two effects with the

same cause, Defendants’ failure to ship the product. Defendants suggest that this interpretation

“would turn the FSIA jurisprudence on its head if a plaintiff could draw a foreign state into U.S.

courts by the plaintiff’s actions, as opposed to the actions of the foreign state.” ECF No. 60-1 at

40. But that is not the case here. Plaintiff’s breach of contract claim centered on the actions of the

foreign state—Defendants’ failure to ship the product—not the actions of Plaintiff. To be sure, if

Defendants had shipped the product and, subsequently, Plaintiff had failed to deliver the product

to the U.S. buyer, then Defendants may well have an argument that Plaintiff’s failure to ship was

an intervening action that “broke the chain of causation,” but Defendants have not pointed to any

such intervening action or failure by Plaintiff. Put simply, because Defendants failed to ship the

urea and sulfur, materials that would otherwise have been delivered to the United States were “not

forthcoming.” Cruise Connections, 600 F.3d at 665.

       Defendants’ also point to a line of cases in this Circuit to argue that the contract must

designate the United States as “the place of performance.” ECF No. 60-1 at 36–38. But the cases

Defendants cite—Peterson v. Royal Kingdom of Saudi Arabia, Friedman v. UAE, Goodman Hold-

ings v. Rafidain Bank, and Odhiambo—are “pay wherever you are” cases and their findings of “no

direct effect” are premised on the fact that the contracts at issue could have been enforced any-

where in the world because they involved the payment of money to the plaintiff. See Peterson,

416 F.3d 83, 90–91 (D.C. Cir. 2005) (concluding that “pay-wherever-you-are” agreements could



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not have a direct effect on the United States because of the plaintiff’s ability to move and receive

payment at the location of his choice); Friedman, 464 F. Supp. 3d 52, 63–67 (D.D.C. 2020) (con-

cluding that breach of “pay wherever you are” promissory note did not constitute a direct effect on

United States simply because the plaintiff happened to reside in United States when he sought to

enforce the note); Goodman Holdings, 26 F.3d 1143, 1146–47 (D.C. Cir. 1994) (finding no direct

effect where foreign sovereign “might well have paid” the plaintiff through funds located in the

United States, but “might just as well have done so” from funds outside of the United States);

Odhiambo, 764 F.3d at 39–40 (D.C. Cir. 2014) (finding that “pay wherever you are” arrangements

have been “repeatedly” found to be “insufficient to cause a direct effect in the United States”).

        In contrast, where the Circuit has considered contracts requiring delivery of a product—

artwork, for example—it has found it sufficient that the foreign state understood that the recipient

was located in the United States and thus performance was necessarily contemplated in the United

States. See de Csepel, 714 F.3d at 600 (“Although the complaint never expressly alleges that the

return of the artwork was to occur in the United States, we think this is fairly inferred from the

complaint’s allegations that the bailment contract required . . . return of the property itself . . . to

members of the Herzog family Hungary knew to be residing in the United States.”); Valahmbhia,

964 F.3d at 1143 (distinguishing between de Csepel, which involved specific performance, and

the “pay wherever you are case” before that court, which involved payment of money into a bank

account, whether that account was “in Tanzania, Ireland, . . . the United States, or [ ] anywhere

else in the world”). Here, the parties’ commercial contract involved delivery of goods—urea and

sulfur—to a buyer located in the United States. Defendants have not provided any evidence or

argument to suggest that it would have been feasible to ship the goods anywhere in the world,

depending on where the buyer happened to be at any given time. Thus, this case is more like de



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Csepel where the foreign state was obligated to ship artwork to an individual located in the United

States, than Peterson, Friedman, Goodman, or Odhiambo where the “performance”—payment of

money—was not specifically designated to occur in the United States and could occur anywhere

in the world.

       In sum, if this Court finds that Defendants have not explicitly waived their sovereign im-

munity, it should grant Defendants’ Rule 12(b)(1) motion because the commercial activities ex-

ception is inapplicable, as Plaintiff’s lawsuit is “based upon” only the Jordanian judgment, which

is not a commercial activity. If, however, this Court finds that Defendants have not explicitly

waived their immunity and that Plaintiff’s lawsuit is “based upon” Defendants’ commercial con-

duct, it should deny Defendants’ Rule 12(b)(1) motion because Defendants’ conduct had a direct

effect in the United States, and the commercial activities exception therefore applies.

                3.     Violation of United States Sanctions Against Iraq

       Defendants last argument with respect to sovereign immunity is that there can be neither

explicit waiver of sovereign immunity, nor jurisdiction under the commercial activities exception,

based on the parties’ contract because that contract violated the United States sanctions against

Iraq that were in place at the time the parties entered the agreement. ECF No. 60-1 at 43–44.

Defendants argue that because the agreement was purportedly illegal under United States law it

cannot provide a legal basis for explicit waiver of sovereign immunity, nor could their failure to

ship the product have had a legally cognizable direct effect in the United States. See id. Plaintiff

responds by noting that Defendants have provided no evidence that the contract violated the sanc-

tions regime, particularly given the fact that Plaintiff alleges that it informed the United States

Embassy of the agreement and was referred to the United States buyer through the embassy. ECF

No. 66 at 49–52. Plaintiff is correct. As Defendants recognize, an entity could engage in an

activity otherwise prohibited by the sanctions by “obtain[ing] a license (permission) from [the

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Office of Foreign Assets Control],” known as “OFAC.” ECF No. 60-1 at 46. So, Defendants

recognize that certain conduct that may otherwise have violated the sanctions could have been

authorized by OFAC. Yet, Defendants have not provided any evidence to support their argument

that the contract here did in fact violate the sanctions regime by, for example, showing that it would

have been ineligible for an OFAC license or that Plaintiff had previously been denied an OFAC

license for the transaction in question. See generally ECF No. 60-1 at 43–44. Without more,

Defendants’ argument fails.

       B.      Dismissal Under Rule 12(b)(6)

       Defendants also seek dismissal for failure to state a claim under the D.C. Recognition Act

because Plaintiff has failed to allege in the Complaint that recognizing the Jordanian judgment

would not violate United States and D.C. public policy. See ECF No. 60-1 at 44–49. In support

of this contention, Defendants argue that the parties’ agreement constituted an attempt to evade

U.S. sanctions prohibiting the importation of goods of Iraqi origin into the United States, and that

recognizing the Jordanian judgment, which is based on that agreement, would therefore be repug-

nant to U.S. and D.C. public policy. See id. at 48–49. That argument, however, is unavailing on

a Rule 12(b)(6) motion.

       To state a claim under the D.C. Recognition Act, the party seeking recognition of a foreign

judgment must demonstrate that the judgment authorized or denied monetary payment and that the

judgment was final, conclusive, and enforceable under the law of the nation that issued it. D.C.

Code § 15-363(a), (c). The defendant then bears the burden of establishing the affirmative defense

of repugnancy to public policy. See Comm’ns Import Export, S.A. v. Rep. of Congo, 118 F. Supp.

3d 220, 225–26, 228 (D.D.C. 2015). Here, Defendants do not dispute that the Jordanian judgment

authorized monetary payment or that it was final, conclusive, and enforceable under Jordanian



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law. See ECF No. 60-1 at 44–49. Rather, Defendants argue that Plaintiff has failed to allege that

the contract did not violate the United States sanctions against Iraq. See id. at 46–47. This argu-

ment, however, provides no basis for dismissal under Rule 12(b)(6) because Plaintiff is “not re-

quired to anticipatorily negate” the affirmative defense of repugnancy to public policy.

McNamara, 866 F. Supp. 2d at 17; see Chem-Met Co., 1997 WL 74541, at *2.

        Defendants contend that because their repugnancy argument is a statutory exception and

appears on the face of Plaintiff’s pleading—that is, because Plaintiff admits that the product was

intended for delivery to the United States—the issue may be resolved with a 12(b)(6) motion. ECF

No. 67 at 29. But even if that were the case, as noted above in Part II.A.3, Defendants have not

provided any evidence to allow the undersigned to determine from the instant record whether the

parties’ contract violated the sanctions regime. Defendants confusingly claim on reply that getting

an OFAC license would not “solve[ ] the underlying issue that if Plaintiff were to sell the Iraqi

goods to a U.S. buyer, through legal means or otherwise, the underlying transaction would violate

the U.S. Sanctions regime.” Id. (emphasis added). Yet, Defendants provide nothing to support

this argument that a legal transaction, authorized by an OFAC license, would still violate the sanc-

tions regime and be repugnant to public policy. Accordingly, even if the Court were to consider

Defendants’ repugnancy argument at this stage, Defendants’ have failed to show at this stage that

the parties’ agreement violated U.S. or D.C. public policy. 18

        This Court should deny Defendants’ Rule 12(b)(6) motion.




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   Defendants’ public policy arguments are best addressed on a motion for summary judgment after further briefing
and development of the record. Cf. Soc’y of Lloyd’s v. Siemon-Netto, 457 F.3d 94, 99 (D.C. Cir. 2006) (considering
public policy arguments in a foreign-judgment recognition claim on a motion for summary judgment as opposed to a
Rule 12(b)(6) motion); Comm’ns Import Export, 118 F. Supp. 3d at 222, 228–30 (same); LG Display Co. v. Obayashi
Seikou Co., 919 F. Supp. 2d 17, 20, 31–32 (D.D.C. 2013) (same), aff’d, 615 F. App’x 954 (Fed. Cir. 2015); Matusevich
v. Telnikoff, 877 F. Supp. 1, 2–4 (D.D.C. 1995) (same), aff’d, 159 F.3d 636, 1998 WL 388800 (D.C. Cir. May 5, 1998).


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       C.      Dismissal on Forum Non Conveniens Grounds

       Defendants’ final argument is that the case should be dismissed on forum non conveniens

grounds because Jordan is the most appropriate forum to litigate this action and the private and

public interest factors favor dismissal. ECF No. 60-1 at 49–53. Under the doctrine of forum non

conveniens, a “court must decide (1) whether an adequate alternative forum for the dispute is avail-

able and, if so, (2) whether a balancing of private and public interest factors strongly favors dis-

missal.” Agudas Chasidei, 528 F.3d at 950. This Circuit has foreclosed dismissal on forum non

conveniens grounds in cases similar to this one. “In TMR [Energy Ltd. v. State Prop. Fund of

Ukraine], the D.C. Circuit held that ‘the doctrine of forum non conveniens does not apply to actions

in the United States to enforce arbitral awards against foreign nations’ . . . because ‘only a court

of the United States (or of one of them) may attach the commercial property of a foreign nation

located in the United States,’ rendering alternative forums inadequate.” Balkan Energy Ltd. v.

Republic of Ghana, 302 F. Supp. 3d 144, 155 (D.D.C. 2018) (first quoting BCB Holdings Ltd. v.

Gov’t of Belize, 650 F. App’x 17, 19 (D.C. Cir. 2016), then quoting TMR, 411 F.3d 296, 303 (D.C.

Cir. 2005)).

       Defendants correctly point out that TMR and the cases that follow it all address confirma-

tion of arbitration awards, rather than recognition of foreign judgments. ECF No. 60-1 at 52.

Defendants contend that arbitration awards are “subject to a strong federal policy in favor of arbi-

tration,” a policy not relevant to Plaintiff’s suit seeking recognition of a foreign judgment. Id.

Thus, Defendants argue, TMR should be read narrowly to apply only to cases seeking confirmation

of arbitration awards. Id. Plaintiff for its part did not respond to that argument. See generally

ECF No. 66 at 53–56. Nevertheless, the undersigned does not agree with Defendants that TMR’s

holding is so limited. The TMR court made no mention of the federal policy favoring arbitration



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in its forum non conveniens discussion. See 411 F.3d at 303–04. Rather, the Circuit’s decision

rested on the simple idea that a defendant seeking dismissal on forum non conveniens grounds will

be unsuccessful “if no other forum to which the plaintiff may repair can grant the relief it may

obtain in the forum it chose.” Id. at 303. And that is the case where “only a court of the United

States (or of one of them) may attach the commercial property of a foreign nation located in the

United States” in subsequent proceedings seeking to execute a judgment from a U.S. court con-

firming an arbitral award or, in this case, recognizing a foreign judgment. Id. Nothing in the

court’s decision suggests that its logic should apply only to confirmation of arbitral awards, rather

than to suits seeking to confirm or recognize monetary awards—whether gained through arbitra-

tion or litigation—more generally.

       Defendants also argue that the Supreme Court’s decision in Sinochem International Co. v.

Malaysia International Shipping Corp., 549 U.S. 422 (2007) overruled TMR. ECF No. 60-1 at

50–51. It did not. Defendants attempt to suggest that the Court “held” that a suit seeking to attach

foreign assets located in the United States was a “textbook case for immediate forum non conven-

iens dismissal.” ECF No. 60-1 at 51. That is a mischaracterization of Sinochem. The Supreme

Court’s sole holding in Sinochem was that a district court need not determine whether it has per-

sonal jurisdiction over a defendant before dismissing on forum non conveniens grounds. 549 U.S.

at 425 (“We hold that a district court has discretion to respond at once to a defendant’s forum non

conveniens plea, and need not take up first any other threshold objection.”). With respect to what

made Sinochem a “textbook case for immediate forum non conveniens dismissal,” the Court ex-

plained that proceedings arising out of the same dispute before the district court were ongoing in

China, and had been for years, and “the gravamen of Malaysia International’s complaint,”—that

Sinochem made negligent misrepresentations to the Chinese court in those proceedings—“[was]



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an issue best left for determination by the Chinese courts.” Id. at 435–36. Those facts are easily

distinguishable from the facts in TMR, and the facts here, where a party is neither litigating the

merits of a dispute arising entirely abroad, nor challenging the actions of a foreign court in ongoing

proceedings abroad, but instead is seeking to confirm or recognize a foreign money award in order

to later execute that award in the United States.

       Defendants also point to a line in Sinochem where the Supreme Court explained that “[t]he

common-law doctrine of forum non conveniens ‘has continuing application [in federal courts] only

in cases where the alternative forum is abroad.’” 549 U.S. at 430 (alteration in original) (quoting

Am. Dredging Co. v. Miller, 510 U.S. 443, 449 n.2 (1994)). But Defendants do not explain how

this line is in conflict with TMR. Indeed, it is not. It merely stands for the unremarkable proposi-

tion that, as a result of the federal venue transfer statute (28 U.S.C. § 1404(a)), forum non conven-

iens dismissals apply only when the alternative forum is abroad, rather than when the alternative

forum is in a different federal district court. See Sinochem, 549 U.S. at 430 (noting that forum non

conveniens only applies where the alternative forum is abroad, and then explaining that “[f]or the

federal court system, Congress has codified the doctrine and has provided for transfer, rather than

dismissal, when a sister federal court is the more convenient place for trial of the action”); see also

Am. Dredging, 510 U.S. at 449 n.2 (explaining that, as a consequence of the federal venue transfer

statute, “the federal doctrine of forum non conveniens has continuing application only in cases

where the alternative forum is abroad”). Thus, far from overruling TMR, this portion of Sinochem

merely summarized the different remedies—dismissal or transfer—available depending on where

the alternative forum is located.

       Indeed, the D.C. Circuit and district courts have continued to apply TMR since Sinochem

was decided in 2007 and have expressly rejected the argument that Sinochem and TMR are in



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conflict. See Gretton Ltd. v. Republic of Uzbekistan, No. 18-CV-1755, 2019 WL 3430669, at *6

(D.D.C. July 30, 2019) (noting that “[t]he D.C. Circuit has stood by TMR Energy’s holding” as

recently as 2016 and “[d]istrict courts have time and again applied that holding as well”); Balkan

Energy, 302 F. Supp. 3d at 155 (rejecting the defendant’s argument that Sinochem overruled TMR

and noting that “[c]ounsel for [the defendants] have pressed th[e] exact argument to the D.C. Cir-

cuit on other occasions . . . but to no avail”); BCB Holdings Ltd., 232 F. Supp. 3d at 45 (rejecting

argument that Sinochem overruled TMR and explaining that the cases “are not in conflict” because

“[i]n Sinochem, the Supreme Court held that courts may dismiss a case on forum non conveniens

considerations before definitively determining jurisdiction,” whereas, “in TMR Energy, the [D.C.

Circuit] did not address the timing of assessing the appropriateness of the forum, but rather, the

D.C. Circuit plainly stated that there is no alternative forum that has jurisdiction to attach the com-

mercial property of a foreign nation located in the United States”). 19

         Last, Defendants contend that “there is an intra-circuit conflict in D.C. Circuit law with

respect to the continuing vitality of TMR” (ECF No. 60-1 at 51–52), but the cases Defendants cite

to support that argument do not conflict with TMR. Lans v. Adduci Mastriani & Schaumberg LLP

held that an alternative forum is inadequate where the forum is not available to all defendants and,

indeed, noted that, although “the alternate forum does not need to have identical causes of action


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   Although Defendants do not make the argument, it is also of no consequence to TMR’s forum non conveniens
analysis that Plaintiff does not yet seek to execute a judgment in this case by attaching Defendants’ property and may
never be able to do so. It is enough that Plaintiff may seek to attach Defendants’ property in the United States in the
future if and when it has a judgment from this Court. Indeed, the parties did not seek to attach property in TMR either.
Nevertheless, the Circuit rejected the foreign state’s argument that a potential future inability to attach property should
weigh in favor of dismissal on forum non conveniens grounds, explaining that even if the plaintiff could not seek
attachment of the foreign state’s property at the time the court confirmed the arbitral award, “having a judgment in
hand will expedite the process of attachment” in the future. TMR, 411 F.3d at 303–04 ; see also Continental Transfer,
697 F. Supp. 2d at 57 (noting that “[w]here a foreign claimant . . . may seek to attach property of the defendant that is
located in this country, dismissal on forum non conveniens grounds would be inappropriate” (emphasis added)); Belize
Soc. Dev. Ltd. v. Gov’t of Belize, 5 F. Supp. 3d 25, 34 (D.D.C. 2013) (finding that “[e]ven if [the defendant] has no
attachable property in the United States at this time ‘it may own property here in the future, and [the plaintiff’s] having
a judgment in hand will expedite the process of attachment’” (internal citation omitted) (quoting TMR Energy, 411
F.3d at 303)).

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or identical remedies to be deemed adequate,” such a forum will be “considered inadequate ‘where

the remedy offered by the other forum is clearly unsatisfactory.’” 786 F. Supp. 2d 240, 290

(D.D.C. 2011). That, of course, is precisely the basis on which TMR was decided: a non-U.S.

forum will be inadequate in litigation to confirm an arbitral award because “only a court of the

United States (or of one of them) may attach the commercial property of a foreign nation located

in the United States.” TMR, 411 F.3d at 303. Termorio S.A. E.S.P. v. Electrificadora Del Atlantico

S.A. E.S.P. concluded that Columbia was an adequate alternative forum for a case raising two

claims: one to enforce an arbitral award and one that alleged breach of contract. 421 F. Supp. 2d

87, 91 (D.D.C. 2006). In so finding, the court relied on the fact that Columbian courts had already

reviewed and vacated the arbitral award and had also litigated the breach of contract claim; it was

therefore clear that the “defendants [were] subject to [Columbian] courts’ jurisdiction and that

[those] courts [were] available to resolve the disputes.” Id. at 103. The court did not address the

question of whether the foreign courts could provide an adequate remedy. MBI Group, Inc. v.

Credit Foncier Du Cameroun held that Cameroon was a more appropriate forum for a contract

and tort case against the government of Cameroon, arising out of a deal to develop affordable

housing in Cameroon and noted, in considering whether Cameroon was an adequate alternative

forum, that “[a]n alternative forum is inadequate if the plaintiff will be ‘treated unfairly’ there.”

616 F.3d 568, 570, 574 (D.C. Cir. 2010) (quoting Piper Aircraft Co. v. Reyno, 454 U.S. 235, 255

(1981)). The D.C. Circuit nowhere intimated that the unfairness to a litigant is the only basis on

which a foreign forum may be considered inadequate. Finally, D&S Consulting, Inc v. Kingdom

of Saudi Arabia merely explains that where the alternative forum is abroad, forum non conveniens

dismissal, “rather than transfer,” is the appropriate remedy, which, as discussed above, is not in

conflict with TMR. 322 F. Supp. 3d 45, 49 (D.D.C. 2018).



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        Accordingly, because the Circuit’s reasoning in TMR is equally persuasive to suits seeking

recognition of a foreign judgment, the Court should deny Defendants’ motion to dismiss on forum

non conveniens grounds.

                                     IV.       CONCLUSION

       The undersigned RECOMMENDS that Defendants’ motion to dismiss (ECF No. 60) be

DENIED because Plaintiff has alleged enough facts showing at this point in the proceedings that

Defendants explicitly waived their sovereign immunity, has stated an adequate claim for relief,

and because Defendants’ have failed to show that there is an adequate alternative forum.

                                 *         *     *      *       *

       The parties are hereby advised that, under the provisions of Local Rule 72.3(b) of the

United States District Court for the District of Columbia, any party who objects to the Report and

Recommendation must file a written objection thereto with the Clerk of this Court within 14 days

of the party’s receipt of this Report and Recommendation. The written objections must specifically

identify the portion of the report and/or recommendation to which objection is made and the basis

for such objections. The parties are further advised that failure to file timely objections to the

findings and recommendations set forth in this report may waive their right of appeal from an order

of the District Court that adopts such findings and recommendation. See Thomas v. Arn, 474 U.S.
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140 (1985).                                                            G. Michael Harvey
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                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE




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